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                   EXHIBIT F
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                                                                          Page 1
           UNITED STATES DISTRICT COURT
           EASTERN DISTRICT OF NEW YORK
           -------------------------------------------- x
           EDWARD SHIN,
                                        Plaintiff,
                                             Index No.
                                             1:17-cv-05183(LG)(SMG)


                    -against-


           YSE ENTERPRISES, INC., MICHAEL S. WANG,
           VICTORIA WANG as TRUSTEE OF THE RICHARDSON
           IRREVOCABLE TRUST, TERRANCE WU, DEH-JUNG
           DEBORAH WANG and YOUNG K. LEE,
                                        Defendants.
           -------------------------------------------- x
                           The Chartwell Law Offices
                           One Battery Park Plaza
                           New York, New York            10004
                           May 28, 2019
                           11:30 a.m.


                   EXAMINATION BEFORE TRIAL of CHUNG K. LEE,
           Non-Party Witness, held at the above time and
           place, pursuant to Subpoena & Agreement, taken
           before Joi Rafkind, a shorthand reporter and
           Notary Public within and for the State of New
           York.
                                    MAGNA LEGAL SERVICES
                                        (866)624-6221
                                       www.MagnaLS.com
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                                                                          Page 2
      1     A P P E A R A N C E S:
      2
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     14                 THE CHARTWELL LAW OFFICES
                              Attorneys for Defendants
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                              as TRUSTEE OF THE RICHARDSON
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     21     Appearances continued on next page.
     22
     23
     24
                                             xxxxx
     25
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                                                                          Page 3
      1     A P P E A R A N C E S: (Cont.)
      2
      3                LONGO & D'APICE, ESQS.
                                  Attorneys for Defendant
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      5                           Brooklyn, New York              11242
      6                 BY:       STEVEN J. WEISSLER, ESQ.
      7
      8
      9     ALSO PRESENT:
     10     Ms. Lena Lee, Korean Interpreter
            Magna Legal Services
     11
     12
     13
     14
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
                                               xxxxx
     25
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                                                                          Page 4
      1                                 I N D E X

      2    WITNESS                   EXAMINATION BY                        PAGE

      3    Chung K. Lee              Ms. Nicolaou                         6,119

      4                              Ms. Berkowitz                            89

      5                              Mr. Weissler                             93

      6
      7                  INFORMATION/DOCUMENT PRODUCTION

      8    DESCRIPTION                                                     PAGE

      9    Closing documents                                                  27

     10    Contract                                                           38

     11
     12                  QUESTIONS MARKED FOR A RULING (*)

     13    ATTORNEY                                                        PAGE

     14    Mr. Weissler                                                      102

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                                                                          Page 5
      1                      S T I P U L A T I O N S

      2
      3             IT IS HEREBY STIPULATED AND AGREED by and

      4         between the attorneys for the respective

      5         parties herein, that filing, sealing and

      6         certification, and the same are, hereby

      7         waived.

      8
      9            IT IS FURTHER STIPULATED AND AGREED that

     10    all objections except as to the form of the

     11    question, shall be reserved to the time of the

     12    trial.

     13
     14            IT IS FURTHER STIPULATED AND AGREED that

     15    the within deposition may be signed and sworn

     16    to by an officer authorized to administer an

     17    oath, with the same force and effect as if

     18    signed and sworn to before the Court.

     19
     20                                    xxxxx

     21
     22
     23
     24
     25
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                                                                           Page 6
      1    LENA LEE, called as the interpreter in this

      2    matter, was duly sworn by a Notary Public of

      3    the State of New York to accurately and

      4    faithfully translate the questions propounded

      5    to the witness from English into Korean and

      6    the answers given by the witness from Korean

      7    into English.

      8                                      oOo

      9    CHUNG K. LEE, the witness herein, having been

     10    first duly sworn by a Notary Public of the

     11    State of New York, was examined and testified

     12    through the interpreter as follows:

     13    EXAMINATION

     14    BY MS. NICOLAOU:

     15            Q.      State your name for the record,

     16      please.

     17            A.      Chung K. Lee.

     18            Q.      State your address for the record,

     19      please.

     20            A.      2949 218th Street, Bayside, New York

     21      11360.

     22            Q.      Good morning, Mr. Lee.

     23            A.      Yes, good morning.

     24            Q.      My name is Carmen Nicolaou.                 I

     25      represent what I refer to as the Wang
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 8 of 139 PageID #: 892


                                                                          Page 7
      1      defendants in this action.                They were the

      2      owners at one point of the property where the

      3      incident involving Mr. Shin occurred, and

      4      that property is known as 154-05 Northern

      5      Boulevard.        Now, you've testified at

      6      depositions before, Mr. Lee, is that correct?

      7            A.      Yes, regarding my own case.

      8            Q.      I believe there's an action pending

      9      against you and some of my clients in

     10      connection with the sale of the property at

     11      154-05 Northern Boulevard, is that right?

     12            A.      Yes, that is correct.

     13            Q.      Are you still in that action?

     14            A.      Yes, it's pending.

     15            Q.      Still pending.          Now, this deposition

     16      is similar in the format as the other

     17      deposition that you participated in, so I'm

     18      going to be asking you questions, you're

     19      going to be providing answers to those

     20      questions to the best of your ability.

     21            A.      Yes.

     22            Q.      Do you understand any English,

     23      Mr. Lee?

     24            A.      I understand a little, because I am

     25      not very good in expressing myself in Korean,
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                                                                          Page 8
      1      that's why I requested for a Korean

      2      interpreter.

      3            Q.      Your request, of course, was granted

      4      obviously, and I understand you're more

      5      comfortable testifying in your Korean

      6      language, which is fine, but if you

      7      understand anything I'm saying to you in

      8      English, you need to wait until it's fully

      9      translated before answering that question.

     10      Okay?

     11            A.      Yes, I understand.

     12            Q.      All your responses have to be verbal

     13      in Korean.

     14            A.      Yes.

     15            Q.      If you answer the question that's

     16      translated to you, I can only assume you

     17      understood that question.                So if you're not

     18      sure what was asked of you in the translation

     19      of my question, please let your

     20      translator/interpreter know, and she will let

     21      me know.       Okay?

     22            A.      Yes, I understand.

     23            Q.      Now, Mr. Lee, you currently own the

     24      property at 154-05 Northern Boulevard,

     25      correct?
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                                                                           Page 9
       1           A.      Yes, that is correct.

       2           Q.      Do you personally own it or are you

       3     an owner of a company that owns the property?

       4           A.      The company owns it.

       5           Q.      What's the name of that company?

       6           A.      CMJJ LLC.

       7           Q.      What's your title within that

       8     company?

       9           A.      So I am the president.

      10           Q.      Do you have any -- are you also --

      11     withdraw that.           Are you also the sole owner

      12     of the company?

      13           A.      No, there was one more.

      14           Q.      Who is the other owner?

      15           A.      Do you want the name of the person?

      16           Q.      That is correct, yes, please.

      17           A.      M-Y-O-U-N-G, middle name H, last

      18     name Lee, L-E-E.

      19           Q.      Is that Mr. Lee who was arrested in

      20     connection with Mr. Shin's -- with respect to

      21     the incident involving Mr. Shin on April 22,

      22     2017?

      23           A.      No.

      24           Q.      So it's a different Young Lee?

      25                   THE INTERPRETER:           Sorry, just for
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                                                                          Page 10
       1             clarification, it's not Young Lee, it's

       2             M-Y-O-U-N-G.

       3                   MS. NICOLAOU:          My apologies,

       4             M-Y-O-U-N-G.

       5                   THE INTERPRETER:           Put M in front of

       6             Young.

       7                   MS. NICOLAOU:          Instead of Young

       8             it's Myoung.

       9                   MR. WEISSLER:          Off the record.

      10                   (Whereupon, a discussion was

      11             held off the record.)

      12           Q.      Mr. Myoung Lee and yourself own CMJJ

      13     LLC, correct?

      14           A.      Yes, that's correct.

      15           Q.      Do you each own that company

      16     equally, 50/50, or something else?

      17           A.      That is correct, 50/50.

      18           Q.      Was that company formed solely for

      19     the ownership of 154-05 Northern Boulevard?

      20           A.      Yes, that's correct.

      21           Q.      What, if anything, is Mr. Lee's

      22     title, Myoung Lee's title?

      23           A.      So I would say he is a management

      24     member.

      25           Q.      What does that mean?
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 12 of 139 PageID #: 896


                                                                          Page 11
       1           A.      So to explain this I have the

       2     ownership of this company and then I manage

       3     this company, or the property, and he --

       4                   THE INTERPRETER:           I'm sorry, strike

       5             that.

       6           A.      I manage the property and then he

       7     has partial ownership for the property.

       8           Q.      So do you handle, just to be clear,

       9     you handle the day-to-day management of the

      10     building located at 154-05, is that right?

      11           A.      That is correct.

      12           Q.      When did CMJJ LLC take ownership of

      13     the property at 154-05?

      14           A.      I don't recall the exact date, but

      15     probably 2 or 3 years ago.                 When was the

      16     incident occur.

      17           Q.      April 22, 2017.

      18           A.      Then the closing was in the same

      19     year, 2017 I believe it was around

      20     April 30th.

      21           Q.      So within a short period of time

      22     after Mr. Shin's accident, or incident,

      23     rather, the property was purchased by CMJJ,

      24     is that correct?

      25           A.      So to be clear, the closing date was
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 13 of 139 PageID #: 897


                                                                          Page 12
       1     around April 30th, so even before the

       2     incident closing date was set.

       3           Q.      I understand.          So CMJJ was in

       4     contract with the purchase of the property at

       5     the time of Mr. Shin's incident on April 22,

       6     2017?

       7           A.      That is correct.

       8           Q.      I understand you also own a

       9     restaurant at that property, is that right?

      10           A.      Yes, that is correct.

      11           Q.      What is the name of the restaurant?

      12                   MR. WEISSLER:          I'm sorry, I

      13             couldn't hear the question.

      14                   MS. NICOLAOU:          What is the name of

      15             the restaurant.

      16           A.      Picnic Garden BBQ.

      17           Q.      What is the company name, if there

      18     is one, that owns Picnic Garden BBQ?                      You got

      19     to wait for it to be translated, Mr. Lee,

      20     don't answer a question unless it's

      21     translated.

      22           A.      So the company who owns this

      23     business Picnic Garden BBQ is Picnic Garden

      24     BBQ Buffet Inc.

      25                   MR. WEISSLER:          Can you repeat that
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 14 of 139 PageID #: 898


                                                                          Page 13
       1             one more time.

       2                   THE INTERPRETER:           Of course picnic

       3             Garden BBQ Buffet Inc.

       4           Q.      Are you the sole owner of this

       5     company?

       6           A.      Yes, that's correct.

       7           Q.      Were you the sole owner of this

       8     company back in April of 2017?

       9           A.      Yes, that's correct.

      10           Q.      How long has Picnic Garden operated

      11     at 154-05 Northern Boulevard?

      12           A.      I believe now it's been 3 years.

      13           Q.      So how long was it operating at that

      14     property at the time of Mr. Shin's incident?

      15           A.      Although I can't recall exactly, but

      16     I believe it was around 1 year, a little more

      17     than a year, around 1 year.

      18           Q.      When you operated the business at

      19     154-05 Northern Boulevard, did you lease that

      20     property from the owners of that building?

      21           A.      Yes, correct.

      22           Q.      Did you lease that property with the

      23     intention of purchasing it at a later date?

      24           A.      So that was part of the condition of

      25     the lease, it includes the term that later on
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                                                                          Page 14
       1     it would be sold to me.

       2           Q.      Did the lease also include the

       3     purchase price of the property?

       4           A.      No.

       5           Q.      Could you please describe to me what

       6     part of the property was leased to Picnic

       7     Garden?

       8           A.      The first floor.

       9           Q.      Did the first floor -- how would you

      10     enter the restaurant?

      11           A.      Through the entrance.

      12           Q.      Okay.      Where is the entrance, in

      13     other words, Mr. Lee, I'm trying to find out

      14     where the entrance to the restaurant is, is

      15     it off the street, do you have to physically

      16     enter the building, or something else?

      17           A.      So there are separate entrances, so

      18     into my restaurant there's a separate

      19     entrance on the first floor, so it's

      20     dedicated entrance to the restaurant, and

      21     other units, second floor or third floor,

      22     they utilize different entrance.

      23           Q.      So just to be clear, the property

      24     has two entrances, one exclusively for your

      25     restaurant and the other for the upstairs
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                                                                          Page 15
       1     tenants, is that right?

       2           A.      That is correct.

       3           Q.      I understand there's a karaoke bar

       4     on the second floor, is that right?

       5           A.      Yes, that is correct.

       6           Q.      Is it still operating today on the

       7     second floor?

       8           A.      Yes, it's in business.

       9           Q.      Is it the same one that was

      10     operating at the time of Mr. Shin's accident?

      11           A.      No, about 2 months ago they have a

      12     new owner.

      13           Q.      Did the new owner, to your

      14     knowledge, did the new owner take over the

      15     space, the lease with the other karaoke --

      16     withdraw that question.               Let me start over.

      17     To your knowledge, did the new owner take

      18     over the lease for the second -- for the

      19     karaoke bar that was there originally, or did

      20     you as owner of the property through CMJJ

      21     lease that property to the new owner

      22     directly?

      23           A.      So it was sold and bought

      24     assignment.

      25           Q.      So was CMJJ involved in the
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                                                                          Page 16
       1     assignment of the lease to the new owners of

       2     the karaoke bar?

       3           A.      Yes, of course.

       4           Q.      It's my understanding that this

       5     karaoke bar, at least it's been testified to

       6     by other witnesses, that this was a kind of a

       7     club, is that right, a gentleman's club?

       8                   MS. BERKOWITZ:          Objection to the

       9             form of the question.

      10                   MR. BASIL:        Off the record.

      11                   (Whereupon, a discussion was

      12             held off the record.)

      13           A.      So my understanding that it's a room

      14     salon.

      15                   MR. WEISSLER:          It's a what?

      16                   THE INTERPRETER:           Room salon.

      17                   MR. BASIL:        R-O-O-M space

      18             S-A-L-O-N.

      19                   MR. WEISSLER:          Room salon.

      20                   THE INTERPRETER:           It's Korean

      21             terminology for that kind of

      22             establishment.

      23           A.      It's a room salon, which is a

      24     different form of a business from gentleman's

      25     club.
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                                                                          Page 17
       1           Q.      What is a room salon?

       2           A.      It's a place that you can sing and

       3     have drinks.

       4           Q.      Only men were allowed to go, is that

       5     right?

       6           A.      It's not like that.

       7           Q.      Okay.      So women could also attend

       8     the room, go to the room salon and

       9     participate in karaoke as well?

      10           A.      So I think it's all mixed, the group

      11     of women can go to a place like that and have

      12     fun and group of men can go to that kind of

      13     establishment and have fun, and then they

      14     could meet at the same place and they can

      15     have fun together.

      16           Q.      Just to be clear, the karaoke bar

      17     back in April of 2017 allowed for both, to

      18     your knowledge, allowed for both men and

      19     women to patronize it, is that right?

      20           A.      Yes, that is correct.

      21           Q.      You observed women as guests of this

      22     karaoke bar?

      23           A.      Not that I observed with my own

      24     eyes, but then I've heard from other people

      25     saying that females say that we went there
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 19 of 139 PageID #: 903


                                                                          Page 18
       1     and we had fun there.

       2           Q.      Mr. Lee, were you a member of this

       3     karaoke bar back in April of 2017?

       4           A.      I don't believe there was membership

       5     there.

       6           Q.      How often, let me ask you this, did

       7     you patronize that bar, that karaoke bar?

       8           A.      Yes, I've been there.

       9           Q.      Approximately how many times have

      10     you been a guest or patron of the karaoke bar

      11     prior to April 22, 2017?

      12           A.      I don't believe I need to answer

      13     your questions.           The reason I am at this

      14     deposition is because of the litigation, and

      15     I deem your question that was just asked to

      16     me was about private life.                  And if it's going

      17     to be this way, I would like to leave.

      18                   MS. NICOLAOU:          Bob.

      19                   MR. WEISSLER:          He wants to what?

      20                   MS. NICOLAOU:          He wants to leave.

      21                   MS. BERKOWITZ:          He wants to leave

      22             if she's going to continue.

      23                   MS. NICOLAOU:          I'm going to

      24             continue about his history of this bar,

      25             it's all relevant about the facts of
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                                                                          Page 19
       1             this case.        You're his attorney, you

       2             tell me what position you want to take.

       3             Because if he's not going to answer

       4             those questions, we're going to have an

       5             issue, and he's under subpoena, so

       6             would you like to talk to him?

       7                   MR. BASIL:        Yes.     May I use your

       8             interpreter?

       9                   MS. NICOLAOU:          You may use my

      10             interpreter.

      11                   MR. BASIL:        Okay.

      12                   MS. NICOLAOU:          Thank you.

      13                   MR. BASIL:        Read back the last

      14             question.

      15                   (Whereupon, the record was read

      16             by the reporter.)

      17           A.      So I understand it was before 2017,

      18     so what period of time?

      19           Q.      I'm asking, Mr. Lee -- I'm going to

      20     reask the question again.                Prior to

      21     April 2017 how many times have you attended

      22     the karaoke bar at 154-05 Northern Boulevard?

      23                   MR. BASIL:        Carmen, before --

      24                   MS. NICOLAOU:          Hasn't been opened

      25             for 50 years, Bob --
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                                                                          Page 20
       1                   MR. BASIL:        Listen --

       2                   MS. NICOLAOU:          -- so.

       3                   MR. BASIL:        -- are you asking as a

       4             patron?

       5                   MS. NICOLAOU:          As a patron, yes,

       6             that was my question.

       7           Q.      How many times -- I'll reask the

       8     question.        Prior to April 2017 how many times

       9     were you a patron of the karaoke bar at

      10     154-05 Northern Boulevard?

      11                   MR. WEISSLER:          I think it's 157.

      12                   MS. NICOLAOU:          4.

      13           A.      154-05.

      14                   THE INTERPRETER:            I'll ask the

      15             question.

      16                   MS. NICOLAOU:          Can we ask the

      17             question, thank you.

      18           A.      So I can't recall exactly how many

      19     times I had been there as a guest or a

      20     patron, but my understanding is that this is

      21     quite a pricey location and I only visit on

      22     special occasions, so approximately I would

      23     say once or twice a year.

      24           Q.      Over the course of how many years?

      25           A.      Just to clarify that, just to
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 22 of 139 PageID #: 906


                                                                          Page 21
       1     clarify, there are different Korean karaoke

       2     bars in the area too, so when I mentioned

       3     once or twice, I meant it in general to that

       4     sort of establishment, not particularly at

       5     that location.

       6            Q.     So let me reask the question again.

       7     Mr. Lee, how many times did you visit the

       8     karaoke bar that was located at 154-05

       9     Northern Boulevard prior to April of 2017?

      10            A.     I would say about ten times.

      11                   MR. WEISSLER:           I'm sorry, did you

      12             ask over what period of time that was?

      13                   MS. NICOLAOU:           No.    Now that I got

      14             an answer to my question, I'll ask

      15             that.

      16            Q.     In the ten times that you visited

      17     the karaoke bar prior to April 22, 2017 over

      18     what period of time was that?

      19            A.     So I would say within 10 year

      20     period.

      21            Q.     Would it be correct that if I say

      22     based on your testimony, on average you

      23     visited this karaoke bar about once a year

      24     over the 10 years?

      25            A.     Yes, if you mean this particular
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                                                                          Page 22
       1     location, yes.

       2           Q.      Okay, thank you.           Now, in 2017,

       3     prior to April 22, 2017, how often were you a

       4     patron of the karaoke bar at that location at

       5     154-05 Northern Boulevard location?

       6           A.      I didn't go there.

       7           Q.      Were you present at this karaoke bar

       8     in April of 2017?

       9           A.      When the incident occurred?

      10           Q.      That's correct.

      11           A.      Yes, I was.

      12           Q.      And you were there as a patron, is

      13     that right?

      14           A.      Correct.

      15           Q.      Prior to that, between January of

      16     2017 and prior to April 22, 2017, when

      17     Mr. Shins -- when the incident involving

      18     Mr. Shin occurred, how many times were you a

      19     patron of that karaoke bar in that April,

      20     May, 4-month period?

      21           A.      As I said, I didn't.

      22           Q.      So that was your first time in that

      23     karaoke bar in 2017, is that right?

      24           A.      Yes, that's correct.

      25           Q.      That was your first time in that
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 24 of 139 PageID #: 908


                                                                          Page 23
       1     karaoke bar as a patron for 2017?

       2           A.      If you -- to my recollection, and if

       3     you mean at this particular karaoke bar

       4     location?

       5           Q.      Yes.

       6           A.      Yes, that was the first time in

       7     2017.

       8           Q.      Other than being at that karaoke bar

       9     as a patron, how many times have you gone

      10     upstairs for other reasons, and just to

      11     clarify, this is prior to April 2017?

      12                   THE INTERPRETER:           In 2017?

      13                   MS. NICOLAOU:          Prior to April of

      14             2017.

      15           A.      So to answer your question I would

      16     like to clarify of the fact that fire alarm

      17     panel for the first floor is actually located

      18     on the second floor, and although I had not

      19     been upstairs to reset the alarm, but

      20     sometimes there's errors or some sort of

      21     malfunction of it and then you have to go

      22     upstairs and reset the panel, and my manager

      23     had gone up there and then reset the panel,

      24     so if you include that, there would be an

      25     occasion that I had technically visited that
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 25 of 139 PageID #: 909


                                                                          Page 24
       1     business.

       2            Q.     Mr. Lee, I want to know whether you

       3     physically went up to the karaoke bar for

       4     other reasons other than being a patron prior

       5     to April of 2017?            I don't want to know about

       6     your managers or your wait staff, I want to

       7     know about you personally, have you gone up

       8     to the karaoke bar for other reasons prior to

       9     April 22, 2017, for reasons other than,

      10     excuse me, being a guest, a patron of that

      11     bar?

      12            A.     Then no, I had no reason to go up

      13     there.

      14            Q.     When did you enter into a contract

      15     for the purchase of the property at 154-05

      16     Northern Boulevard?

      17            A.     I do not recall exactly, but I

      18     believe it was sometime in July or August of

      19     2016.

      20                   MR. BASIL:        Can we go off the

      21             record for a second.

      22                   (Whereupon, a discussion was

      23             held off the record.)

      24            Q.     When you entered into contract in

      25     July, August of 2016 for the property, did
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 26 of 139 PageID #: 910


                                                                          Page 25
       1     you go -- did you inspect, personally, did

       2     you go up those stairs and look at the second

       3     floor space and the third floor space?

       4           A.      I didn't conduct any specific

       5     special additional inspections around that

       6     time of the contract because there are law

       7     offices on the third floor and that had been

       8     there before this contract was talked about,

       9     so I didn't need to perform any additional

      10     inspections.

      11           Q.      Did you hire someone to inspect the

      12     building prior to entering into a contract?

      13           A.      No.

      14           Q.      Is the property -- does the property

      15     have a mortgage?            I'm sorry, withdraw that

      16     question.        Is there a mortgage on the

      17     property?

      18           A.      Yes.

      19           Q.      And that mortgage is from Noah Bank,

      20     is that right?

      21           A.      Yes, that's correct.

      22           Q.      Did the bank require to issuing a

      23     mortgage that the building be inspected by an

      24     engineer or some other architect, or

      25     something along those lines?
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 27 of 139 PageID #: 911


                                                                          Page 26
       1           A.      So that kind of inspections would be

       2     done by the bank, so my understanding is that

       3     they performed this type of inspections if

       4     the whole environment is safe.                   Before the

       5     appraisal they would do this.                  Then they

       6     would make an approval and that mortgage

       7     would be given.

       8           Q.      Did you ever become aware whether

       9     Noah Bank had an engineer or architect

      10     inspect the property prior to issuing the

      11     mortgage?

      12           A.      I recall that I had notified from

      13     them that appraiser would be there at the

      14     property.

      15           Q.      Other than the appraiser, do you

      16     know if the bank conducted an inspection of

      17     the building?

      18                   THE INTERPRETER:           Can the

      19             interpreter get a clarification,

      20             please.

      21                   MS. NICOLAOU:          Yes.

      22                   THE INTERPRETER:           Thank you.

      23           A.      So the answer is I have no clear

      24     recollection, but I would like to say that in

      25     the closing there is an itemized things about
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 28 of 139 PageID #: 912


                                                                          Page 27
       1     appraisers, or this inspection, and that, so

       2     I do not recall what was listed in those

       3     itemized items in the closing statement, but

       4     my understanding is that it's common sense to

       5     conduct that type of inspection, and because

       6     I recall receiving the notification by phone

       7     calls about these stuff and also reading this

       8     items in the closing, so my answer is yes, I

       9     believe Noah Bank conducted such inspections.

      10           Q.      Do you still have those closing

      11     documents with the itemized list of things

      12     that the bank may or may not have done?

      13           A.      I have to look for it, but it should

      14     be somewhere.

      15           Q.      I'm going to ask for the documents

      16     relative to the closing of the property and

      17     that you provide it to Mr. Basil, who I'll

      18     follow-up with him for that information.

      19    REQUEST NOTED:

      20           A.      Understood.

      21           Q.      After you closed on the property did

      22     the bank give you any directions or

      23     instructions to any repairs that you were

      24     required to make to the property?

      25           A.      No, nothing.
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                                                                          Page 28
       1           Q.      Is the property insured?

       2           A.      Yes.

       3           Q.      Did the insurance company give you

       4     any specific things that you needed to repair

       5     to the property to maintain coverage?

       6           A.      No.

       7           Q.      Did you make any changes to the

       8     property since you purchased it from -- since

       9     you purchased it in end of April 2017?

      10           A.      Yes, I did.

      11           Q.      What kind of changes did you make?

      12           A.      So first thing I did was the change

      13     the exterior of the property and also fix the

      14     stairs to upstairs, and I am still working on

      15     the elevator, it takes for a long time.

      16           Q.      What exactly did you do to the

      17     stairs, the staircase that you fixed, was it

      18     the one going from the first floor to the

      19     second floor?

      20           A.      Yes, actually both, first floor to

      21     second floor and second floor to third floor.

      22           Q.      What repairs or what did you fix in

      23     that staircase, the one from the first to the

      24     second?

      25           A.      So the whole staircase was fixed so
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                                                                          Page 29
       1     each stairs were repaired, and then also

       2     extended or enlarged the width of each step.

       3           Q.      Who did the work?

       4           A.      A contractor, construction.

       5           Q.      What was the name of the company?

       6           A.      Hana Construction.

       7                   THE INTERPRETER:            H-A-N-A,

       8             phonetically spelled.

       9                   MR. WEISSLER:          N?

      10                   THE INTERPRETER:            H-A-N-A

      11             Construction, phonetically spelled.

      12           Q.      Did Hana Construction, to your

      13     knowledge, have to obtain a permit to make

      14     any changes to the staircase?

      15           A.      Yes, of course.

      16           Q.      When were these changes made?

      17           A.      So I think it's soon after I

      18     purchased the building I started working on

      19     the stairs 6 months after I purchased the

      20     property, and then the work was finished the

      21     beginning of this year.               And elevators,

      22     elevator bank, it will be finished soon, end

      23     of this month, the elevator would come in

      24     this month.

      25           Q.      After Mr. Shin's accident did you go
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 31 of 139 PageID #: 915


                                                                          Page 30
       1     to see him at his home in New Jersey?

       2                   MR. BASIL:        Objection to the form.

       3             His home is in Pennsylvania.

       4           Q.      Pennsylvania, I'm sorry.                My

       5     apologies.         After Mr. Shin's accident did you

       6     visit him at his home in Pennsylvania?

       7           A.      Yes, I did.

       8           Q.      Did you talk to Mr. Shin after he

       9     testified at his deposition about what he

      10     testified to, and his deposition in this

      11     case?

      12           A.      I do not understand your question.

      13     Do you mean about me doing this deposition?

      14           Q.      After Mr. Shin testified at this

      15     deposition, the deposition for his case, did

      16     he talk to you, have a conversation with you

      17     as to what he testified to?

      18           A.      No, I didn't even know that he did

      19     something like this for himself.

      20           Q.      When you visited Mr. Shin after his

      21     accident in his home in Pennsylvania did you

      22     discuss the staircase with him?

      23           A.      Talk to him about what about the

      24     stairs?

      25           Q.      Did you have a conversation with
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 32 of 139 PageID #: 916


                                                                          Page 31
       1     Mr. Shin when you visited him in his home in

       2     Pennsylvania about the staircase at 154-05

       3     Northern Boulevard, specifically the one

       4     between the first and the second floor?

       5           A.      Although I don't recall the details

       6     of the conversation that we had, but I think

       7     I mentioned something about fixing the

       8     stairs, I think I said something like

       9     although it's not like the building

      10     department issued an order to fix the stairs

      11     or is it there was anything illegal about it,

      12     but now I am the new owner of the property,

      13     and to me it is somewhat hazardous, so I

      14     would be fixing the stairs.                 That's, I

      15     believe, that's what was had in the

      16     conversation.

      17                   MR. WEISSLER:          I'm sorry, could you

      18             read that back, please.

      19                   (Whereupon, the record was read

      20             by the reporter.)

      21           Q.      Mr. Lee, did Mr. Shin ask you to

      22     repair the stairs at 154-05 Northern

      23     Boulevard when you visited him at his home in

      24     Pennsylvania?

      25           A.      No.
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 33 of 139 PageID #: 917


                                                                          Page 32
       1           Q.      Did Mr. Shin ever say to you that he

       2     was told by his attorney that the staircase

       3     was hazardous and that it should be repaired?

       4           A.      No, nothing like that.              But he did

       5     ask a question about according to the

       6     building code from the building department is

       7     there any issue with the stairs, so I

       8     responded that I would find out.                    And I did,

       9     and there was nothing wrong according to the

      10     building code.           That's what I told him.

      11           Q.      How did you find out there was

      12     nothing wrong with the stairs?

      13           A.      So I asked the architect, and my

      14     understanding is that if the CO was given

      15     from the building department that means by

      16     the code there was no issue about the

      17     building.        So was more of myself checking

      18     again, because I had become a new owner of

      19     the property and I wanted to find out, double

      20     check, if there was anything illegal about

      21     the stairs.         But the answer I got was there

      22     was none, and I just wanted to make sure that

      23     there wouldn't be any additional trouble.

      24           Q.      Who was the architect that you spoke

      25     to?
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                                                                          Page 33
       1           A.      His name is Alex Heoh.

       2                   THE INTERPRETER:           H-E-O-H or H-U-H,

       3             phonetically spelled.

       4                   MS. NICOLAOU:          Can you ask him how

       5             you spell it.

       6           A.      I don't know.

       7                   THE INTERPRETER:           Strike H-U-H,

       8             that's a little weird.              H-E-O-H,

       9             phonetically spelled.

      10           Q.      Alex is the first name?

      11           A.      Alex is the first name, that's how I

      12     call him.

      13           Q.      He's Korean, correct?

      14           A.      Yes, Korean.

      15           Q.      Do you know what his Korean first

      16     name is?

      17           A.      I don't know, and I didn't ask,

      18     because good number of Korean people actually

      19     change their first name as well when they

      20     naturalize, so I didn't ask about it.

      21           Q.      Now, I know you testified that you

      22     widened the steps to the staircase, did you

      23     do anything else other than widen the steps?

      24           A.      I also changed the materials of the

      25     stairs and also changed the rail, handrail.
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                                                                          Page 34
       1           Q.      The material of the stairs is what

       2     right now?

       3           A.      Marble.

       4           Q.      And it was carpeting before,

       5     correct?

       6           A.      Yes.

       7           Q.      Whenever you hired Hana Construction

       8     to do the work on the staircase, did they put

       9     in a bid?

      10           A.      No.

      11           Q.      Did you have plans drawn up for the

      12     staircase?

      13           A.      I believe, my understanding is that

      14     something like that was submitted to the

      15     building department in order to obtain a

      16     permit it should be done, that's my

      17     understanding.

      18           Q.      That's with Alex Heoh?

      19           A.      No, it's not him.

      20           Q.      Do you know who submitted the plans?

      21           A.      There's an architect whose name is

      22     Kyu Man Lee.

      23                   THE INTERPRETER:           K-Y-U, M-A-N,

      24             last name is L-E-E, phonetically

      25             spelled.
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                                                                          Page 35
       1                   MR. BASIL:        Off the record.

       2                   (Whereupon, a discussion was

       3             held off the record.)

       4           Q.      Mr. Lee, do you still have paperwork

       5     in connection with the repairs or the

       6     construction of the staircase at 154-05

       7     Northern Boulevard?

       8           A.      Those were not handled by me because

       9     I usually hire GC, general contractor, so I

      10     don't know.

      11           Q.      Who was the general contractor?

      12           A.      The one I mentioned before, Hana

      13     Construction.

      14           Q.      You got to wait until fully

      15     translated, Mr. Lee, before you answer that

      16     question.

      17           A.      Yes.

      18           Q.      But you still have documentation

      19     relative to Hana Construction, is that right?

      20           A.      I don't have it with me, Hana has

      21     everything.

      22           Q.      So you don't have anything at

      23     your -- at 154-05 relative to the work at

      24     that property?

      25           A.      Correct, if you mean the current
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                                                                          Page 36
       1     construction that has been going on?

       2           Q.      Yes.

       3           A.      So my understanding is that the GC,

       4     general contractor, will finish off the work

       5     when everything was done and it was signed

       6     off, then the documentations would be handed

       7     to me, that's my understanding.

       8           Q.      Is the company name, to your

       9     knowledge, Hana International Inc.?

      10           A.      No, Hana Construction.

      11           Q.      Where are they located?

      12           A.      Currently they are located on the

      13     third floor of my building.

      14           Q.      So they are a tenant of your

      15     building, and that's 154-05?

      16           A.      They moved their location while they

      17     were working on the construction so that it

      18     would facilitate it easily.

      19           Q.      So who is your contact at Hana

      20     Construction?

      21           A.      The president, Jae Bok Choi.

      22                   THE INTERPRETER:           J-A-E, B-O-K,

      23             C-H-O-I is the last name, phonetically

      24             spelled.

      25           Q.      Before they relocated to 154-05
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                                                                          Page 37
       1     where were their offices?

       2           A.      They were in a place called

       3     Whitestone.

       4           Q.      What was the address?

       5           A.      I do not know.

       6           Q.      Do you have any ownership interest

       7     in Hana Construction?

       8           A.      I do not.

       9           Q.      The architect, Kyu Man Lee, what's

      10     the name of his company?

      11           A.      TL Engineering.

      12           Q.      Where is he located?

      13           A.      In Flushing.

      14           Q.      What is the address?

      15           A.      I do not know.

      16           Q.      Do you have anything, do you have

      17     any documents in your possession that would

      18     have the address of TL Engineering?

      19           A.      I think I have a business card where

      20     I usually keep those cards.

      21           Q.      To your knowledge, is TL Engineering

      22     located a few doors down from 154-05 Northern

      23     Boulevard?

      24           A.      Probably one block, two blocks down

      25     from where I am, where we are.
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                                                                          Page 38
       1           Q.      Do you have any contract or any

       2     documents in your possession relative to Hana

       3     Construction?

       4           A.      I do have a contract says something

       5     about the service fee, how much it would be.

       6           Q.      I'm going to ask that you provide a

       7     copy of that contract to your attorney.

       8                   MS. NICOLAOU:          And I'll make a

       9             demand for it.

      10    REQUEST NOTED:

      11           Q.      Now, you were a witness to

      12     Mr. Shin's accident, is that right?

      13           A.      Yes, correct.

      14           Q.      How long have you known Mr. Shin?

      15           A.      So at the time when I first become

      16     to know him was long time ago, because we

      17     went to the same middle school, junior high,

      18     middle school.

      19           Q.      That was back in Korea?

      20           A.      Correct.

      21           Q.      Then when you -- when did you arrive

      22     to the U.S.?

      23           A.      Maybe in 1985.

      24           Q.      After arriving to the U.S., when did

      25     you see Mr. Shin again?
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                                                                          Page 39
       1           A.      No, not right after I came here, I

       2     think, if I recall it correctly, maybe about

       3     15 years ago I saw him again.

       4           Q.      When you saw him again 15 years ago,

       5     did you maintain a relationship, a friendship

       6     with Mr. Shin over the past 15 years?

       7           A.      I wouldn't exactly say that, that we

       8     kept our friendship or relationship on an

       9     ongoing basis, because we went to the same

      10     middle school together, then we knew that

      11     where he was and he knew where I was, what I

      12     was doing, what he was doing, but then we

      13     were both busy with our own businesses, so we

      14     didn't keep a close relationship, or we

      15     didn't keep contact with each other.

      16           Q.      What would you consider your

      17     relationship with Mr. Shin to be back in

      18     April of 2017, as a colleague, a friend, a

      19     best friend, something else, how would you

      20     describe that relationship?

      21           A.      Friends.       I don't know what he

      22     thinks of me, but I would say friend, best

      23     friends possibly.

      24           Q.      You also have a business

      25     relationship with Noah Bank, correct?
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                                                                          Page 40
       1           A.      Yes, I do.

       2           Q.      You have accounts with Noah Bank,

       3     business accounts?

       4           A.      I had to open one because of the

       5     mortgage.

       6           Q.      You also own shares in Noah Bank, is

       7     that right?

       8           A.      Yes, that's correct.

       9           Q.      I believe 100,000 shares?

      10           A.      Around that, yes.

      11           Q.      Did you purchase the shares over the

      12     course of the 15 years, or before that?

      13           A.      No, that, within that 15 year

      14     period.

      15           Q.      Is that because of your relationship

      16     with Mr. Shin?

      17           A.      No.     I'm a person of business, I'm a

      18     business man, so I invested according to the

      19     future I see about Noah Bank, had nothing to

      20     do with the fact that I was friends with

      21     Mr. Shin.

      22           Q.      You still own those same shares, is

      23     that right?

      24           A.      That is correct.

      25           Q.      Prior to April 22, 2017 did you have
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 42 of 139 PageID #: 926


                                                                          Page 41
       1     a discussion with Mr. Shin about meeting up

       2     at the karaoke bar on the date of his -- of

       3     the incident involving Mr. Shin?

       4           A.      No.

       5           Q.      Were you aware that Mr. Shin was

       6     going to go to the karaoke bar on April 22,

       7     2017?

       8           A.      So this is how I became aware of

       9     that he would be there.               So I recall I think

      10     we were in touch on the same day, so I had

      11     this dinner appointment on a business in

      12     Flushing, I think he was having similar type

      13     of meeting in New Jersey or something, and he

      14     called me and saying what are you doing, and

      15     then are you busy today, and then he said

      16     something like he was not in a very good mood

      17     or something, and he said he wanted to see a

      18     friend's face, so we kind of like talked to

      19     each other, and then let's gather at that

      20     location, maybe we can see each other's face

      21     there, and that's how I learned, or kind of

      22     not an arrangement, but we ended up there.

      23                   MR. WEISSLER:          I'm sorry, can you

      24             read back the answer.

      25                   (Whereupon, the record was read
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 43 of 139 PageID #: 927


                                                                          Page 42
       1             by the reporter.)

       2           Q.      The dinner, did you go to a business

       3     dinner?

       4           A.      With other person?

       5           Q.      Yes.

       6           A.      Yes.

       7           Q.      Who was that person or persons?

       8           A.      You want the names?

       9           Q.      Yes.

      10           A.      Min Cheol Jung.

      11                   THE INTERPRETER:           M-I-N, C-H-E-O-L,

      12             last name is J-U-N-G, phonetically

      13             spelled.

      14           Q.      It was just one person?

      15           A.      One person.

      16                   MR. WEISSLER:          I'm sorry, the

      17             middle name, it was Min?

      18                   THE INTERPRETER:           C-H-E-O-L.

      19                   MR. WEISSLER:          It was dinner?

      20           Q.      Where did you go out to eat?

      21           A.      Call it a chicken and beer place.

      22           Q.      Where?

      23           A.      In Flushing.

      24           Q.      What did you eat?

      25           A.      Chicken and beer.
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                                                                          Page 43
       1           Q.      So you ate chicken and you drank

       2     beer?

       3           A.      Together, yes.

       4           Q.      What do you mean together, was it

       5     chicken cooked in the beer, or did you

       6     actually drink the beer from a cup?

       7           A.      So there would be fried chicken and

       8     there would be beer, so eat chicken, drink

       9     beer.

      10           Q.      How many beers did you have?

      11           A.      So we shared 3,000 CC draft beer.

      12           Q.      It was served in a pitcher?

      13           A.      Yes, in a pitcher.            Then we would

      14     pour into the glass.

      15           Q.      The glass, how many glasses of beer

      16     did you have from that pitcher?

      17           A.      About two glasses.

      18           Q.      Then when you were done you went

      19     back to 154-05?

      20           A.      Yes, I saw the time, then went

      21     there.

      22           Q.      Were you at that property earlier in

      23     the day, because of your restaurant?

      24           A.      Do you mean where?

      25           Q.      At 154-05, you were there earlier
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 45 of 139 PageID #: 929


                                                                          Page 44
       1     that day?

       2           A.      Yes, I did.

       3           Q.      Do you have an office at the

       4     restaurant Picnic Garden?

       5           A.      Yes, I do, very small one.

       6           Q.      Do you go to the restaurant when

       7     it's open for business on the days it's open

       8     for business -- withdraw that.                   Let me reask

       9     the question.          On the days that Picnic Garden

      10     is open for business, are you always present

      11     at that restaurant?

      12           A.      No, not like that.

      13           Q.      How often would you be at the

      14     restaurant when it's open for business?

      15           A.      So you mean how many times a week?

      16           Q.      Yes, that's a good time range to

      17     average.

      18           A.      So I would say I go there 6 days a

      19     week, but then I would only stay at the

      20     restaurant for about an hour each time.

      21           Q.      Do you own any other restaurants?

      22           A.      Yes, I do.

      23           Q.      How many more?

      24           A.      One more.

      25           Q.      Is it also called Picnic Garden?
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                                                                          Page 45
       1           A.      Correct.

       2           Q.      How are they differentiated between

       3     the two restaurants, how do you differentiate

       4     the names of the restaurants, if you do?

       5           A.      It's the same name.

       6           Q.      Are they both Picnic Garden BBQ

       7     Inc.?

       8           A.      So one is Picnic Garden BBQ Buffet

       9     Inc., the other one is Picnic Garden BBQ Inc.

      10           Q.      How often, where is the other Picnic

      11     Garden located?

      12           A.      It's in Edison, New Jersey.

      13           Q.      How often do you visit that

      14     restaurant?

      15           A.      Once every 2 weeks.

      16           Q.      On April 21, 2017 were you at the

      17     Picnic Garden at 154-05 Northern Boulevard?

      18                   THE INTERPRETER:           Just for a

      19             clarification, 21, right?

      20                   MS. NICOLAOU:          Yes.     It happened in

      21             the early morning hours of the 22nd,

      22             so.

      23           A.      It would be impossible for me to

      24     recall whether I was actually there at the

      25     restaurant on April 21, 2017 or not, but just
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                                                                          Page 46
       1     I'm guessing from my practice how I visit

       2     that location, so I think I did, but I can't

       3     recall exactly.

       4           Q.      When you went out to dinner with

       5     your friend, or work colleague, whatever he

       6     is to you, what time did you go to that

       7     restaurant, the chicken and beer place in

       8     Flushing?

       9           A.      Around 7:30.

      10           Q.      What time did you finish up with the

      11     dinner?

      12           A.      That I have very foggy recollection.

      13     I do recall that I had stayed at the

      14     restaurant until the time I was supposed to

      15     meet Mr. Shin, but I can't recall what time

      16     that was, it was pretty late hour, but I

      17     can't recall exactly.

      18           Q.      You can't recall what time you were

      19     supposed to meet Mr. Shin?

      20           A.      Yes, that I can't recall exactly.

      21           Q.      But it was -- was it before

      22     midnight?

      23           A.      Yes, of course.

      24           Q.      But late hours?

      25           A.      Yes, because we had dinner first, so
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 48 of 139 PageID #: 932


                                                                          Page 47
       1     to my recollection I think it was around

       2     9:00 or 10:00, but I can't recall exactly.

       3           Q.      How did you -- when you left the

       4     chicken and beer place, how did you go to --

       5     back to 154-05 Northern Boulevard, did you

       6     walk, did you take a cab, did you drive?

       7           A.      I walked.

       8           Q.      When you arrived to the karaoke bar

       9     was Mr. Shin already there?

      10           A.      Although I can't recall exactly, I

      11     have no clear recollection, but I do believe

      12     that I had arrived there first before they

      13     did, because they were in New Jersey, so I

      14     think we got there first, but I do not recall

      15     exactly.

      16           Q.      When you say we, who are you

      17     referring to?

      18           A.      What I meant is I went there with

      19     Mr. Min Cheol Jung.

      20           Q.      So you and Mr. Min Cheol Jung walked

      21     from the karaoke bar to the restaurant, is

      22     that right?

      23           A.      Yes, that's correct.

      24           Q.      Prior to that, going back to that

      25     restaurant, did you make any reservations for
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 49 of 139 PageID #: 933


                                                                          Page 48
       1     room at the karaoke place?

       2           A.      I don't know, I can't recall.

       3           Q.      When you entered the karaoke bar,

       4     just to be clear, we're referring to the one

       5     at 154-05 Northern Boulevard, did you go up

       6     the stairs or did you use the elevator?

       7           A.      So that's what I was going to talk

       8     to you.

       9                   THE INTERPRETER:           Strike that, I'm

      10             sorry.

      11           A.      That's what I was talking about

      12     before me getting new elevator for the

      13     building, because to my recollection whenever

      14     I went to that location to go upstairs to

      15     karaoke bar, the elevator never worked, so I

      16     remember I was always walking up and down the

      17     stairs, so that's why I wanted to get a new

      18     elevator, because it's so old, it wouldn't

      19     work, it wasn't working.

      20                   MS. NICOLAOU:          Move to strike the

      21             portions that aren't responsive.

      22           Q.      Mr. Lee, did you try to see if the

      23     elevator -- withdraw that.                 Mr. Lee, did you

      24     try to use the elevator to go to the second

      25     floor that night, or did you just take the
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 50 of 139 PageID #: 934


                                                                          Page 49
       1     stairs?

       2           A.      I just walked up.

       3           Q.      When you arrived to the karaoke bar

       4     were you greeted by anyone?

       5                   MR. WEISSLER:          I'm sorry?

       6                   MS. NICOLAOU:          Were you greeted by

       7             anyone.

       8           A.      I have no recollection, but I

       9     believe someone must have come out and said

      10     something.         Whenever you go to a business

      11     like that, they would come out and greet and

      12     ask me question, like how many people.

      13           Q.      At the time that you arrived to the

      14     karaoke bar were you feeling intoxicated from

      15     the two beers that you consumed?

      16           A.      Rather than feeling intoxicated, I

      17     could feel, it's just me I get red and

      18     sometimes I feel warm on my face, so

      19     something like that.

      20           Q.      Were you feeling a buzz?

      21           A.      Not like that.

      22           Q.      But you just felt like red and hot?

      23           A.      Yes, yes.

      24           Q.      Were you placed in a room when you

      25     arrived to the karaoke bar?
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                                                                          Page 50
       1           A.      Yes.

       2           Q.      Was Mr. Min Cheol Jung with you when

       3     you were placed in that room?

       4           A.      Yes, of course.

       5                   MR. WEISSLER:          Can you read that

       6             question and answer back, please.

       7                   (Whereupon, the record was read

       8             by the reporter.)

       9           Q.      Before being placed in that room did

      10     you order any beverages, anything to drink,

      11     anything to eat?

      12           A.      When do you mean, after we entered

      13     the room?

      14           Q.      No, before you went into the room

      15     did you place an order?

      16           A.      No.

      17           Q.      Mr. Min Cheol Jung, how many beers

      18     did he have at that restaurant?

      19           A.      So we shared this 3,000 CC pitcher

      20     together, so about the same amount, I guess.

      21           Q.      Did Mr. Min Cheol Jung appear

      22     intoxicated to you when you arrived to the

      23     karaoke bar?

      24           A.      No, no, he can hold more than I, so

      25     I don't think so.
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 52 of 139 PageID #: 936


                                                                          Page 51
       1           Q.      When you arrived, when you were

       2     placed in a room, was there a point when

       3     after you were placed in that room an order

       4     was taken?

       5           A.      Yes.

       6           Q.      What did you place for an order?

       7           A.      I ordered some whiskey.

       8           Q.      What kind of whiskey?

       9           A.      That I can't recall.

      10           Q.      Anything else other than the

      11     whiskey?

      12           A.      So that karaoke, if you order

      13     whiskey, some other stuff, like fruits or

      14     something to eat with, would come out.

      15           Q.      What was -- was the whiskey provided

      16     to you?

      17           A.      Yes, it did.         It was.

      18           Q.      It came in a bottle, correct?

      19           A.      Yes, yes.

      20           Q.      And it was served on a tray with

      21     glasses?

      22           A.      No, the glasses were already placed

      23     on the table.          So their system is the glasses

      24     are there on the table, but they would bring

      25     the whiskey or the other stuff, I don't know
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 53 of 139 PageID #: 937


                                                                          Page 52
       1     which one came first, but then not the

       2     glasses.

       3            Q.      So the whiskey, and the other stuff

       4     being the food, right?

       5            A.      Yes, fruits and other thing.

       6            Q.      This is -- do you know what table

       7     service is, or bottle service, excuse me, is?

       8                    THE INTERPRETER:          I'm sorry?

       9                    MS. NICOLAOU:         Let me rephrase it.

      10            Q.      Mr. Lee, do you know what the term

      11     bottle service is?

      12            A.      What is the bottle service?

      13            Q.      Fine.     Let me go at it a different

      14     way.        After the whiskey and the food was

      15     brought to the room, did you pour yourself a

      16     glass of whiskey?

      17            A.      So I don't have a clear

      18     recollection, but according to the Korean

      19     culture and how we usually drink is that a

      20     person who is younger than you would pour the

      21     glass first.           So although I do not recall who

      22     poured, but I think the person that I went

      23     there with, Min Cheol Jung, would have poured

      24     a glass for me first.

      25            Q.      Okay, I understand.            So Min Cheol
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 54 of 139 PageID #: 938


                                                                          Page 53
       1     Jung is younger than you?

       2           A.      Yes, that's correct.

       3           Q.      Based on the Korean culture, Min

       4     Cheol Jung would have poured you a glass,

       5     handed it to you, and then poured himself a

       6     glass?

       7           A.      No, then I would pour one for him.

       8           Q.      I see, so you pour each other's

       9     glasses?

      10           A.      Correct.

      11           Q.      Did there come a point in time where

      12     Mr. Shin arrived to the karaoke bar?

      13           A.      That I have no clear recollection

      14     whether Mr. Shin had arrived later after I

      15     did, or we arrived around the same time, or

      16     he did before I did, I have no clear

      17     recollection.

      18           Q.      But at some point in time Mr. Shin

      19     and you were in the same room together, is

      20     that right?

      21           A.      Yes, that is correct.

      22           Q.      When Mr. Shin came -- when Mr. Shin

      23     entered the room, was Mr. Min Cheol Jung

      24     still in the room with you?

      25           A.      Yes, he was.
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                                                                          Page 54
       1           Q.      Did anybody enter the room with

       2     Mr. Shin, other than himself?

       3           A.      Yes, there was a person whose name

       4     is John, he accompanied Mr. Shin.

       5           Q.      Is that John Kim?

       6           A.      That is correct, John Kim.

       7           Q.      Do you recall how many glasses of

       8     whiskey you had prior to Mr. Shin arriving to

       9     your room?

      10           A.      You mean I before Mr. Shin entered

      11     the room?

      12           Q.      Yes.

      13           A.      So it also connection to the

      14     recollection that I don't have whether he

      15     arrived first or I did first, so I don't

      16     recall how many glasses I actually had before

      17     Mr. Shin arrived.

      18           Q.      Do you recall how many glasses of

      19     whiskey you had that night before Mr. Shin's

      20     accident?

      21           A.      You mean I?

      22           Q.      Yes, you.

      23           A.      I can't recall how many glasses I

      24     had, I did drink, but I can't recall how many

      25     glasses.
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                                                                          Page 55
       1           Q.      How many bottles were ordered for

       2     your room prior to Mr. Shin's accident?

       3                   MS. BERKOWITZ:          Objection to the

       4             form of the question.

       5           A.      So I don't recall exactly, but I

       6     believe it would be one bottle, because

       7     Mr. Shin did come to our room, but he did not

       8     drink with us, soon after he went to the next

       9     room, so.

      10           Q.      When Mr. Shin went into the next

      11     room, did he stay there, to your knowledge --

      12     let me withdraw that.              After Mr. Shin arrived

      13     to your room, how long was he in your room

      14     before he left to go to the next room?

      15           A.      I can't recall exactly for how long,

      16     but I recall it was a short time, it wasn't

      17     too long.

      18           Q.      And your recollection was he didn't

      19     drink anything in your room?

      20           A.      So I don't recall exactly, but I

      21     assume that he would have had at least one

      22     glass in our room because he and Mr. Min

      23     Cheol Jung never had met before the day, so

      24     according to the Korean culture, I introduce

      25     them together, then they would have shared at
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                                                                          Page 56
       1     least one glass together.                It's very nice to

       2     meet you kind of thing.

       3           Q.      After Mr. Shin left your room to go

       4     to the next room, did he return?

       5           A.      He did not.

       6           Q.      When was the next time you saw

       7     Mr. Shin?

       8           A.      I was actually expecting Mr. Shin to

       9     come back to our room, but he did not, and he

      10     was spending his time in the next room, so I

      11     actually visited the next room saying that

      12     why don't you come back to our room.                      And so

      13     I waited, I asked him that in the next room,

      14     then I came back to my room and waited, but

      15     he still didn't come to our -- come back to

      16     our room, so I figured that he wants to spend

      17     his time in the next room, then let him be,

      18     then let us leave, then we were leaving.

      19           Q.      How long were you in your room when

      20     you went to the room that Mr. Shin was at to

      21     see him?

      22           A.      That I can't recall.

      23           Q.      Can you estimate in any way, an hour

      24     later, 2 hours later, more, less?

      25           A.      I don't know, maybe 1 hour.
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                                                                          Page 57
       1            Q.     About an hour.          When you went to see

       2     Mr. Shin in the other room, did you feel like

       3     you were intoxicated?

       4            A.     Me, not that, not too much.

       5            Q.     Were you feeling the affects of the

       6     alcohol at that point, the buzz feeling?

       7            A.     Yes, of course I felt the alcohol,

       8     because I have a little tolerance and I get

       9     red.

      10            Q.     How many drinks of whiskey had you

      11     had before you went to see Mr. Shin in the

      12     other room?

      13            A.     I didn't have many, because actually

      14     we were supposed to drink together, me and

      15     Mr. Shin, but then I don't know what was the

      16     reason, maybe on a business, he was spending

      17     a long time in the next room, but then in my

      18     room, the John, this person whose name is

      19     John, and my friend who went to the location

      20     with me, it was first time for them to meet,

      21     so the atmosphere, it wasn't natural, it was

      22     a little raw to keep drinking, so I don't

      23     think I had many glasses.

      24            Q.     Did you have more than one glass of

      25     whiskey?
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                                                                          Page 58
       1           A.      At least I had one, yes.

       2           Q.      Did you have more than two?

       3           A.      I don't recall exactly, but I do

       4     know that I didn't have many, because of the

       5     reason that I explained, the whole the

       6     atmosphere, the mood was not friendly enough

       7     because people didn't know each other and

       8     also because of my drinking habit anyway,

       9     because I don't have a big tolerance towards

      10     alcohol, so I usually drink not too many.

      11                   MS. NICOLAOU:          What was the

      12             question?

      13                   (Whereupon, the record was read

      14             by the reporter.)

      15           Q.      When you went to see Mr. Shin in the

      16     room about an hour later, did he appear

      17     intoxicated to you?

      18           A.      Yes, he appeared drunk.

      19           Q.      Were you introduced to anyone in

      20     that room?

      21           A.      No.

      22           Q.      When you went in to see Mr. Shin in

      23     that room was John Kim with you?

      24           A.      You mean in that room, John Kim was

      25     in my room.
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                                                                          Page 59
       1           Q.      Yes, when you left your room to go

       2     see Mr. Shin, did John Kim come with you?

       3           A.      No, I was the only one.

       4           Q.      Then after you saw Mr. Shin you went

       5     straight back to your room, is that right?

       6           A.      Yes, that's correct.

       7           Q.      How much time at that point when you

       8     returned to your room passed before you saw

       9     Mr. Shin again?

      10           A.      I don't know, I can't recall.

      11           Q.      Was it more than an hour, less than

      12     an hour?

      13           A.      I mean, if you say like is it more

      14     than an hour, more than 2 hours, I can't

      15     really recall.           And when I said about an

      16     hour, that I'm not even sure about.

      17           Q.      After you returned to your room did

      18     you stay in your room for any period of time,

      19     or did you leave right away?

      20           A.      I had stayed there for a bit.

      21           Q.      Did you have another drink at that

      22     point?

      23           A.      I don't think I did, I don't believe

      24     I was in mood for drinking more, because as

      25     you probably guessed that he was supposed to
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                                                                          Page 60
       1     be drinking with me, but then he was in the

       2     other room, so I didn't feel like drinking

       3     more by myself.

       4           Q.      Was anyone in that room other than

       5     you, in your room, was anyone else in that

       6     room, other than you, John Kim, and Min Cheol

       7     Jung?

       8           A.      Do you mean my acquaintances?

       9           Q.      Anyone?

      10           A.      I mean, there were people working

      11     there were in and out of the room.

      12           Q.      Was there any people who stayed in

      13     the room that you believed to be employees of

      14     the karaoke bar?

      15           A.      There was no one who had stayed

      16     there ongoing.

      17           Q.      When you went to see Mr. Shin in the

      18     other room to see what he was doing and try

      19     to get him to come back to your room, how

      20     many people did you see in that room at that

      21     point?

      22           A.      Maybe four, five.

      23           Q.      Were they all men?

      24           A.      Because I wanted to see --

      25                   THE INTERPRETER:           I'm sorry, strike
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                                                                          Page 61
       1             that.

       2           A.      I only wanted to see Mr. Shin, so

       3     basically I called him out of the room, and I

       4     glanced the room, so to my recollection,

       5     although it's not clear, I think in total

       6     there were four to five people in the room, I

       7     don't recall how many of them were men and

       8     how many of them were women, but I think

       9     there were about four or five people in the

      10     room.

      11           Q.      Do you recall, specifically recall,

      12     seeing any women in that room?

      13           A.      That's what I'm trying to explain, I

      14     don't recall, I have no recollection to see

      15     clearly whether there were all men or women.

      16           Q.      Fair enough.         When you called

      17     Mr. Shin out, did he step out?

      18           A.      He didn't.

      19           Q.      You had basically a conversation

      20     with him from the door?

      21           A.      So basically I opened the door, but

      22     I didn't open it wide, I opened it ajar,

      23     slightly, then I could see him, so I signaled

      24     him to come out, then I left.

      25           Q.      Did you go back to your room?
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                                                                          Page 62
       1           A.      Yes.

       2           Q.      Did Mr. Shin follow you?

       3           A.      He did not.

       4           Q.      After a period of time in your room

       5     that's when you decided to leave?

       6           A.      Yes, that's correct.

       7           Q.      When was the next time you saw

       8     Mr. Shin after you signaled for him to come

       9     out of the room but he didn't?

      10           A.      After that I actually went to that

      11     room again and told him that I was leaving,

      12     so that was the next time when I saw him.

      13           Q.      When you returned to that room a

      14     second time, did you do it in the same

      15     fashion, open the door, tell him you were

      16     leaving, and then closed it again?

      17           A.      Yes.

      18           Q.      So the same way you did it the first

      19     time?

      20           A.      The same.

      21           Q.      This time did Mr. Shin follow you?

      22           A.      Yes, at that time all of a sudden he

      23     said, oh, I am leaving too, then he opened

      24     the door and came out.

      25           Q.      Did he come out by himself?
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                                                                          Page 63
       1            A.     Yes, yes, he came out by himself,

       2     but then someone followed him after he was

       3     out.

       4            Q.     Do you know who that someone is?

       5            A.     The person who got into a fight with

       6     him.

       7            Q.     Before you left your room, when you

       8     left your room to tell Mr. Shin you were

       9     leaving, did you pay the tab?

      10            A.     Of course I paid for what I drank.

      11            Q.     Did you share it with Mr. Min Cheol

      12     Jung?

      13            A.     No.     It's Korean culture, because I

      14     am the senior in terms of, so I paid for it.

      15            Q.     Do you know if Mr. Shin paid the tab

      16     for the room he was in?

      17            A.     I don't know.          How would I know.

      18            Q.     Did you see him take cash out before

      19     he left the room to put towards the bill?

      20            A.     I did not.

      21            Q.     Do you know a person by the name of

      22     Daniel Park, who is a CPA?

      23            A.     I do.

      24            Q.     How long have you known Mr. Park?

      25            A.     About 4 to 5 years.
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                                                                          Page 64
       1            Q.     Did you see Mr. Park in the room

       2     where Mr. Shin spent most of his time on the

       3     night of the incident at the karaoke bar?

       4            A.     Yes, I did, I saw Mr. Park.

       5            Q.     When you saw Mr. Park in that room,

       6     did you notice whether he was awake, asleep?

       7            A.     I don't know about that.

       8            Q.     Did you recognize anybody else in

       9     that room, other than obviously Mr. Shin and

      10     Mr. Park?

      11            A.     I don't know.           I don't think I saw

      12     anybody else that I knew.                 And to clarify, I

      13     didn't even see their faces clearly.

      14            Q.     Now, you said Mr. Shin stepped out

      15     and another gentleman came, followed him out

      16     the door, is that right?

      17            A.     Kim, did you say Kim?

      18            Q.     No, I didn't say Kim.

      19                   THE INTERPRETER:            I'm sorry, I

      20             heard Kim.         Could you read it back to

      21             me.

      22                   (Whereupon, the record was read

      23             by the reporter.)

      24                   MS. NICOLAOU:           Let me reask the

      25             question.
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                                                                          Page 65
       1            Q.      When you told Mr. Shin you were

       2     leaving, and he followed you and he decided

       3     to leave as well, you indicated another

       4     gentleman followed him out, is that right?

       5            A.      Correct.

       6            Q.      Do you know who that person is, or

       7     was?

       8            A.      What do you mean whether I knew that

       9     person?

      10            Q.      At the time you observed this person

      11     leave the room after Mr. Shin left, did you

      12     know who that person was?

      13            A.      I didn't know him, it was a person

      14     that I did not know.

      15                    MR. WEISSLER:         Before you ask

      16             another question, it's 2:00, can we

      17             take a break?

      18                    MS. NICOLAOU:         Yes.

      19                      (Whereupon, a luncheon

      20                         recess was taken.)

      21            Q.      Mr. Shin --

      22                    MR. BASIL:       Mr. Shin?

      23                    MS. NICOLAOU:         I'm sorry, thank

      24             you.

      25            Q.      Mr. Lee, I understand you did not
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 67 of 139 PageID #: 951


                                                                          Page 66
       1     know the gentleman that walked -- that

       2     followed Mr. Shin out of the room on the

       3     night of Mr. Shin's incident, or the incident

       4     involving Mr. Shin, but did there come a

       5     point in time that night, that evening, that

       6     you recognized him?

       7                   MR. WEISSLER:          Just note my

       8             objection to the form of the question.

       9           A.      So when I was trying to break them

      10     apart, then I recognized him.

      11           Q.      Who did you recognize him to be?

      12           A.      This person that I was talking

      13     about.

      14           Q.      Yes, who did you recognize him to

      15     be?

      16           A.      So I don't know if I understood your

      17     question correctly, but what I meant to say

      18     is that when I tried to break up the fight,

      19     that while I was doing so I recognized that

      20     person's face as this is the person in a

      21     fight.

      22                   MR. WEISSLER:          I didn't hear the

      23             rest of it, in a?

      24                   THE INTERPRETER:           A fight.

      25           Q.      Let's back up.          You told Mr. Shin he
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 68 of 139 PageID #: 952


                                                                          Page 67
       1     was leaving -- that you were leaving, and

       2     Mr. Shin indicated that he wanted to leave

       3     too, is that right?

       4            A.     Yes.     And the other person followed

       5     him.

       6            Q.     Mr. Shin stepped out, the other

       7     gentleman followed him, is that right?

       8            A.     So to clarify, I do not actually

       9     witness or saw with my eyes that that

      10     particular person was following after

      11     Mr. Shin.        What I recognized or observed was

      12     that Mr. Shin was coming out of the room and

      13     someone was cursing at him, and so I was like

      14     who is that, that's how I recognized the

      15     whole situation, not particularly that

      16     person.

      17            Q.     I understand.          Now, Mr. Lee, I'm

      18     going to ask you just to listen my question,

      19     only answer my question, okay.                   We're going

      20     to get there, I just need to understand the

      21     timeframe and timeline of the event during

      22     that period of time.              Just listen to my

      23     question and only answer my question, okay.

      24            A.     Yes.

      25                   MS. NICOLAOU:          Can you read back my
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 69 of 139 PageID #: 953


                                                                          Page 68
       1             last question, please.

       2                   (Whereupon, the record was read

       3             by the reporter.)

       4           Q.      Just answer the question, yes or no?

       5           A.      Yes.

       6           Q.      After Mr. Shin stepped out and the

       7     gentleman followed him out, what was the next

       8     thing that happened?

       9           A.      So that's what I wanted to explain

      10     to you before.           So Mr. Shin came out and

      11     someone was following Mr. Shin and he was

      12     cursing at Mr. Shin, and I don't know if he

      13     wanted to punch Mr. Shin, whatever, but I

      14     felt like he was picking up on a fight with

      15     Mr. Shin.        So, there was a whole space in

      16     that store, in that bar, so Mr. Shin came

      17     out, and we were all in that whole space, and

      18     then because I felt like they were going to

      19     be in a fight, I wanted to break up or

      20     prevent the fight, so I was telling that

      21     person, well, I think you had a little bit

      22     too much of drink, and let's not do this, so

      23     I was physically trying to prevent him go

      24     into a fight.          While I was doing so we were

      25     actually kind of like drafted off the whole
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                                                                          Page 69
       1     space then ended up in that nearby the

       2     staircase.

       3           Q.      When you say --

       4                   MR. WEISSLER:          Move to strike that

       5             portion which is not responsive to the

       6             question.

       7                   MS. NICOLAOU:          Can you read back

       8             the answer.

       9                   (Whereupon, the record was read

      10             by the reporter.)

      11           Q.      From the time you told Mr. Shin that

      12     you were leaving, up until the time that you

      13     ended up in that space near the staircase,

      14     how much time had passed?

      15           A.      Was very quick moment, because I was

      16     leaving the space, I was walking, and

      17     Mr. Shin was also walking following me, but

      18     then the other person followed Mr. Shin and

      19     cursed at him, and I looked back and briefly

      20     tried to stop the possible fight, then we

      21     were talking, walking, and all ended up by

      22     the staircase, so I would say it was very

      23     short period of time.

      24                   MR. WEISSLER:          Move to strike that

      25             portion which is not responsive to the
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 71 of 139 PageID #: 955


                                                                          Page 70
       1             question.

       2           Q.      What was the gentleman who was --

       3     who followed Mr. Shin and was cursing at

       4     Mr. Shin, what was he saying to him?

       5           A.      So he spoke in Korean mostly cursing

       6     like who do you think you are, who are you,

       7     you're son of a bitch, something like that.

       8           Q.      Do you know what the argument was

       9     about between Mr. Shin and this gentleman?

      10           A.      I did not know.           How would I know.

      11           Q.      Did Mr. Shin say anything to you

      12     when he stepped out of the room, with respect

      13     to why this gentleman was yelling and cursing

      14     at him?

      15           A.      No.

      16           Q.      Did Mr. Shin, when Mr. Shin stepped

      17     out of the room did he appear to you to be

      18     intoxicated?

      19           A.      Who?

      20           Q.      Shin?

      21           A.      Yes, both of them actually, and

      22     Mr. Shin appeared intoxicated.

      23                   (Whereupon, the record was read

      24             by the reporter.)

      25           Q.      Did there come a point in time where
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 72 of 139 PageID #: 956


                                                                          Page 71
       1     John Kim joined you and Mr. Shin and this

       2     other gentleman as you were leaving the

       3     karaoke bar?

       4           A.      I don't know about that.                I don't

       5     know.

       6           Q.      Did you ever come to learn the name

       7     of that gentleman, that gentleman's name, the

       8     one who was cursing at Mr. Shin, did you ever

       9     come to learn who he was?

      10           A.      Later on, yes.

      11           Q.      How did you come to learn who this

      12     person was?

      13           A.      So because it's Flushing, because

      14     it's K town, Korean town, I think I've heard

      15     from many different people about this

      16     incident, and I learned later on the person

      17     who pushed him, his last name was Lee, just

      18     like mine.

      19           Q.      Is that all you know of him, is that

      20     his last name is Lee?

      21           A.      Yes.

      22           Q.      You say that he pushed him, who did

      23     Lee push?

      24           A.      Mr. Shin, the President, President

      25     Shin.
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                                                                          Page 72
       1                   MS. NICOLAOU:           Off the record.

       2                   (Whereupon, a discussion was

       3             held off the record.)

       4            Q.     Mr. Lee, have you ever reviewed any

       5     security footage from the night that -- from

       6     the night of Mr. Shin's accident?

       7            A.     No.

       8                   MR. BASIL:         I don't believe he

       9             understood your question.

      10                   MS. NICOLAOU:           Okay, I'll reask it

      11             a different way.

      12            Q.     Mr. Lee, did you ever look at any

      13     security footage which captures the incident

      14     involving Mr. Shin?

      15            A.     Yes, I have.

      16            Q.     When have you reviewed it?

      17            A.     Couple days ago, I think.

      18            Q.     You did that with your attorney?

      19            A.     Yes, I did.

      20            Q.     Was that the first time you looked

      21     at it?

      22            A.     Yes, correct.

      23            Q.     So you hadn't seen it before a

      24     couple days ago?

      25            A.     Correct.
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                                                                          Page 73
       1            Q.     I'm going to show you what was

       2     previously digitally marked as Defendant's

       3     1 --

       4                   MS. NICOLAOU:           1?

       5                   MR. BASIL:         I believe so.

       6            Q.     -- on March 15, 2019.               The video,

       7     just for the record, is 2 minutes and 23

       8     seconds long, and I'm going to show Mr. Lee

       9     sections of it.            Now, Mr. Lee, I stopped the

      10     video at 7 seconds into it.

      11                   MR. WEISSLER:           Before you ask any

      12             questions, I just want to note for the

      13             record I object to Counsel's showing of

      14             this video in advance of the

      15             deposition, it's highly irregular and

      16             should not have done so.

      17                   MS. NICOLAOU:           You mean Bob, Bob

      18             Basil?

      19                   MR. WEISSLER:           Whoever was the

      20             attorney who showed it to him, I don't

      21             know who his attorney is that showed it

      22             to him, is that Mr. Basil that showed

      23             him that?

      24                   MR. BASIL:         I will stipulate for

      25             the record I am his attorney and he
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                                                                          Page 74
       1             reviewed this in my office in my

       2             presence, yes.

       3           Q.      Mr. Lee, do you recognize the two

       4     individuals 7 seconds into this video?

       5           A.      Yes.

       6           Q.      Who are they?

       7           A.      Myself and Mr. Shin.

       8           Q.      That's you, correct, on the left

       9     side?

      10           A.      Yes, that's correct.

      11           Q.      And Mr. Shin is on the right side?

      12           A.      Yes.

      13           Q.      I stopped it at 10 seconds into the

      14     video there's a gentleman appears to be

      15     wearing button-down green shirt, do you see

      16     that, with glasses?

      17           A.      Yes.

      18           Q.      Just for the record, on the bottom

      19     right-hand corner of the screen, do you know

      20     who that gentleman is, Mr. Lee?

      21           A.      Yes, I do.

      22           Q.      Who is that?

      23           A.      He is Min Cheol Jung, who

      24     accompanied me.

      25           Q.      That's the gentleman who was younger
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 76 of 139 PageID #: 960


                                                                          Page 75
       1     than you?

       2           A.      Yes, correct.

       3           Q.      How old are you, sir?

       4           A.      I was born in 1962.

       5           Q.      This gentleman, it's your

       6     understanding, was younger than you?

       7           A.      Yes, correct.

       8           Q.      Now, at this time the gentleman Min

       9     Cheol Jung --

      10           A.      Min Cheol Jung.

      11                   MS. BERKOWITZ:          Mr. Jung.

      12           Q.      -- Mr. Jung is no longer on the

      13     camera, right, you can't see him on this

      14     camera, right?

      15           A.      Yes, correct.

      16           Q.      Do you see these two individuals on

      17     the right-hand side of the screen?

      18           A.      So this person indicating the

      19     individual on the upper middle right side of

      20     the screen, so this is John Kim, and the

      21     other person who is on the lower right side

      22     of the screen --

      23                   THE INTERPRETER:           Strike that.

      24           A.      -- it was the person I did not know.

      25           Q.      Is that the person you later learned
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 77 of 139 PageID #: 961


                                                                          Page 76
       1     to be Lee?

       2                   MR. WEISSLER:          I'm sorry, I could

       3             not hear your question, Counselor.

       4           Q.      Is that the person you later learned

       5     to be Lee?

       6                   MR. WEISSLER:          Learned to be?

       7                   MS. NICOLAOU:          Lee?

       8                   THE INTERPRETER:           Mr. Lee?

       9           A.      I would think so, yes.

      10           Q.      I stop it at 19 seconds into the

      11     frame.       At this point Mr. Shin has his right

      12     hand around your neck, is that right?

      13           A.      Yes.

      14           Q.      About 21 seconds into the video you

      15     physically pull Mr. Shin's left arm from

      16     around you, is that right?

      17           A.      Now I see it appears so.

      18           Q.      Do you see that we just stopped it

      19     at 22?

      20           A.      Yes, yes.

      21           Q.      So you physically pull his arm from

      22     around your neck, right?

      23           A.      Yes, I lowered his arm from myself,

      24     but then I wasn't forcibly doing so I wanted

      25     to speak with this person.
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                                                                          Page 77
       1            Q.     We're going to play this again from

       2     18 seconds I'll stop it at 22, just pay

       3     attention to the video, now we stopped at 22,

       4     based on that video, Mr. Lee, would it be

       5     safe to say that you had to forcibly remove

       6     Mr. Shin's hand from around your neck?

       7            A.     Yes, now I see that Mr. Shin was

       8     grabbing it quite hard so.

       9            Q.     It's because Mr. Shin was drunk,

      10     right?

      11            A.     I wouldn't know for sure, because it

      12     wasn't myself whether he wanted to lean on me

      13     or what was his intention, I wouldn't know

      14     for sure.

      15            Q.     Did Mr. Shin appear to be drunk to

      16     you?

      17            A.     Yes.

      18            Q.     At this point I'm just going to go

      19     back a little bit.             At 24 seconds into the

      20     video we're going to start playing at this

      21     point Mr. Shin appears to be leaning on the

      22     wall on the top of the stairs, is that

      23     correct?

      24            A.     Yes, correct.

      25            Q.     Do you remember when Mr. John Kim
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                                                                          Page 78
       1     joined you and Mr. Shin?

       2            A.     I don't know.

       3            Q.     Do you remember, sitting here today,

       4     do you remember having Mr. John Kim being on

       5     the top of the stairs with you and Mr. Shin

       6     and the person you later learned to be Mr.

       7     Lee?

       8            A.     What do you mean by that?                It

       9     clearly shows that everybody is here.

      10            Q.     That's not -- I'm not asking what

      11     the video shows, I'm asking what you remember

      12     from that night.            Do you remember Mr. Kim

      13     being on top of the stairs with you that

      14     night?

      15            A.     No, I can't.

      16            Q.     I just stopped the video at 44

      17     seconds.        Based on the video it appears that

      18     there's a conversation between Mr. Shin and

      19     Mr. Lee, is that right?

      20            A.     So the whole situation is that it

      21     looks like they were having conversation, but

      22     actually in realty they weren't having a

      23     conversation, it's just Korean drunk people

      24     exchanging like meaningless curses at each

      25     other, so it appears that I was saying that
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                                                                          Page 79
       1     both of you look intoxicated, so let's not do

       2     this and then let's leave, so I was trying to

       3     break up the argument.

       4           Q.      So your recollection of anything was

       5     both Mr. Lee and Mr. Shin were cursing at

       6     each other?

       7           A.      Correct, because Mr. Lee was cursing

       8     at Mr. Shin first and then I think Mr. Shin

       9     was reporting back, so it was going back and

      10     forth, so I was trying to break them apart,

      11     don't do this.

      12                   MR. WEISSLER:          What were you saying

      13             at that time?

      14                   THE WITNESS:         Although I can't

      15             recall exactly what I said, but I was

      16             trying to call them down with nice

      17             words, like it looks like you guys know

      18             each other and why would you do this,

      19             let's just go home in peace, something

      20             like that.

      21                   MR. WEISSLER:          What did Mr. Lee say

      22             to you when he was patting you on the

      23             back there?         Do you want me to go

      24             through this whole tape again later?

      25                   MS. NICOLAOU:          No.    Off the record
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                                                                          Page 80
       1             for a second.

       2                   (Whereupon, a discussion was

       3             held off the record.)

       4           Q.      1 minute and 43 seconds into the

       5     video Mr. Shin puts up his middle finger, is

       6     that right?

       7           A.      Yes.

       8           Q.      Do you know why?

       9           A.      I guess they were cursing at each

      10     other, then he lifted it up.

      11           Q.      Does Mr. Lee become angrier when

      12     Mr. Shin put up his middle finger?

      13           A.      So I guess it would have been, it

      14     would have been the best if we had the sound,

      15     but we don't.          It would have been the best,

      16     we would know what's being said clearly, but

      17     we don't have the sound, so I'm going to try

      18     and recall what was said.                I think while I

      19     was trying to calm them down there was still

      20     assailing at each other, but this person, Mr.

      21     Lee, was saying various different curses than

      22     Mr. Shin, but Mr. Shin was as in response to

      23     it he was just saying the F word, F word,

      24     while he was doing that he put up his finger,

      25     middle finger up there.               So then I was
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                                                                          Page 81
       1     calming them down a little bit, then it

       2     seemed they were calming down a little bit,

       3     but then they cursed at each other again.

       4     It's that kind of situation going back and

       5     forth.

       6           Q.      I'm going to reask the question.

       7     When Mr. Shin put up his middle finger, did

       8     Mr. Lee become angrier?

       9                   MR. WEISSLER:          Just note my

      10             objection.        There's been no testimony

      11             that Mr. Lee was angry.

      12                   MR. BASIL:        I'm sorry, are you

      13             done, Steve?

      14                   MR. WEISSLER:          Yes.

      15           A.      So from watching this video footage,

      16     I would say that at this point this person,

      17     Mr. Lee, appeared angrier, but I wouldn't say

      18     it was prompted by the finger which was put

      19     up by Mr. Shin, it was ongoing situation.

      20     Because there was no sound, we can't hear

      21     what Mr. Lee is saying, but he was constantly

      22     cursing at Mr. Shin, Mr. Shin kept saying

      23     fuck you, fuck you, and was just it got

      24     worse.       So at this point it got worse, but it

      25     was going back and forth, they were
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                                                                          Page 82
       1     exchanging bad words kind of situation.

       2           Q.      Based on -- we paused this video at

       3     2 minutes 1 second into the footage, from

       4     this view we can see Mr. Shin, right, he's

       5     still leaning up against the wall, is that

       6     right?

       7           A.      Yes.

       8           Q.      From this clip you can see

       9     Mr. Shin's right foot on the first step, is

      10     that right?

      11           A.      Yes, it appears so.

      12           Q.      And the left foot on the landing, is

      13     that right?

      14                   MR. WEISSLER:          Left foot where?

      15                   MS. NICOLAOU:          On the landing.

      16           A.      I wouldn't be so sure, isn't it that

      17     both feet are on the same level.

      18           Q.      Okay.      So they are either on the

      19     same level or one on -- okay, fine.                      If your

      20     view of this is that they are on the same

      21     level --

      22           A.      I'm not sure.          I wouldn't know for

      23     sure.      It looks like both of them are on the

      24     same level, or one is on the step below, I

      25     don't know.
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                                                                          Page 83
       1           Q.      In this clip at 2 minutes and 1

       2     second Mr. Shin is holding up his middle

       3     finger, right?

       4           A.      Yes.

       5           Q.      Now, you've testified before that

       6     you said Mr. Lee pushed Mr. Shin, is that

       7     right?

       8           A.      Yes, that's what I heard too.

       9           Q.      Did you see -- my question to you,

      10     sir, is not what you see on the video,

      11     because clearly on the video your back is to

      12     Mr. Shin, correct?

      13           A.      I didn't see it.

      14           Q.      What made you conclude that Mr. Lee

      15     pushed Mr. Shin, Mr. Lee pushed Mr. Shin?

      16           A.      Because after this incident occurred

      17     that's what I heard and also from the person

      18     who reviewed this video footage told me so

      19     this individual pushed him, that's why he

      20     ended up at the police station.

      21           Q.      Who is the individual that told you

      22     that?

      23           A.      Many people in Flushing.                And also

      24     when this incident occurred I was there when

      25     the police arrived at the scene and took him
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                                                                          Page 84
       1     away.

       2           Q.      Did you speak to the police about

       3     what had happened that night?

       4           A.      No, no, there was no time for it.

       5           Q.      When you spoke to -- when you looked

       6     at this video, excuse me, a couple of days

       7     ago, do you recall whether you saw on this

       8     video whether anything Mr. Lee did caused

       9     Mr. Shin to fall down the stairs?

      10                   MR. WEISSLER:          Note my objection to

      11             leading.

      12           A.      Well, I didn't really watch this

      13     video with in details, I learned that there

      14     was such video footage, and then I was

      15     curious, so I just glanced at it, but not

      16     like I am watching it right now.

      17           Q.      So this is we're going 2 minutes --

      18     let me go back a little bit.                  I'm going to

      19     play the rest of it, okay, just pay

      20     attention.

      21           A.      Now it shows he's kicking.

      22           Q.      Based on your view of this video, is

      23     that Mr. Lee kicked Mr. Shin?

      24                   MR. WEISSLER:          Objection, there's

      25             been no testimony, he didn't say that,
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 86 of 139 PageID #: 970


                                                                          Page 85
       1             you're suggesting it to him, Counsel.

       2                   MS. NICOLAOU:           He just said it.

       3             Read back the statement, please.

       4                   MR. WEISSLER:           He said he slipped.

       5                   MS. NICOLAOU:           No, that's not what

       6             he said.        Can you please read back the

       7             question and answer.

       8                   (Whereupon, the record was read

       9             by the reporter.)

      10            Q.     Mr. Lee, is it fair to say that you

      11     did not see Mr. Shin go down the staircase,

      12     is that right, or, excuse me, fall down the

      13     staircase?

      14            A.     That is correct, I did not see it.

      15            Q.     That was because your back was to

      16     Mr. Shin the entire time, is that right?

      17            A.     Yes, correct.

      18            Q.     And you were more focused on Mr.

      19     Lee, is that right?

      20            A.     Yes.

      21            Q.     Now, over here on the screen of the

      22     security camera you can see what appears to

      23     be two fluorescent lightbulbs over the

      24     staircase --

      25            A.     Yes.
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 87 of 139 PageID #: 971


                                                                          Page 86
       1           Q.      -- do you see that?

       2           A.      Yes.

       3           Q.      Does that -- does the lighting

       4     that's shown in this security camera

       5     adequately represent the lighting as existed

       6     on the night of Mr. Shin's accident?

       7                   MR. BASIL:        Object to -- I'll wait

       8             until you're done translating the

       9             question.

      10                   THE INTERPRETER:           Is it the video

      11             does it adequately show how it was?

      12                   MS. NICOLAOU:          The lighting.

      13                   MR. BASIL:        I object to the form of

      14             the question.

      15           A.      I am not sure, but I wouldn't think

      16     so, because I don't think it accurately shows

      17     the condition of the lighting of the night

      18     when the incident occurred, and I also ask

      19     you what the reason that I change the

      20     lighting in this area, to my understanding or

      21     to my recollection it was never enough, never

      22     bright enough or adequate lighting for that,

      23     so I installed more lights so that it will be

      24     brighter, so I don't think it accurately

      25     shows how it was on that night.
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 88 of 139 PageID #: 972


                                                                          Page 87
       1           Q.      Mr. Lee, did you ever have any

       2     problems that night while you were trying to

       3     hold back Mr. Lee, the other Mr. Lee, did you

       4     have any problems seeing in that area?

       5           A.      Not like that.

       6           Q.      What does that mean?             Yes or no, did

       7     you have any problem seeing in the area

       8     particularly on top of the staircase when

       9     you're dealing with Mr. Lee and Mr. Shin that

      10     night of Mr. Shin's accident?

      11           A.      So which part do you mean, so if you

      12     mean that was it bright enough for me to see

      13     a person's face up close, yes, it was, but I

      14     don't know what you mean by that.

      15           Q.      So you could see people's faces, is

      16     that right?

      17           A.      Of course.

      18           Q.      Yes, and you can see their hands, is

      19     that right?

      20           A.      I would think that I was able to see

      21     the hand, although I can't recall

      22     intentionally, intently seeing the hand.

      23           Q.      Were you able to see the ground?

      24           A.      That I can't recall, because I don't

      25     think I looked on the floor.
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                                                                          Page 88
       1           Q.      Did you ever speak to Min Cheol Jung

       2     to ask him if he saw what had transpired that

       3     night?

       4           A.      I have not asked him particularly

       5     did you see what happened, but we did talk

       6     about what kind of incident is this, how does

       7     this happen.

       8           Q.      Do you know if Mr. Min Cheol Jung

       9     actually witnessed the incident between Mr.

      10     Lee and Mr. Shin?

      11           A.      I did not ask him, but he himself

      12     told me how it happened.

      13           Q.      What did he tell you?

      14           A.      Just how the video footage showed,

      15     and then I was trying to break up the

      16     argument, and then in between there was a

      17     space and then this person kicked, that's how

      18     he fell down the stairs.

      19           Q.      So your understanding is that

      20     Mr. Shin fell down the stairs because he was

      21     kicked by Mr. Lee?

      22           A.      Yes, correct.

      23           Q.      I'm sorry if I asked you this

      24     question, but did you speak to the police in

      25     connection with this incident?
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 90 of 139 PageID #: 974


                                                                          Page 89
       1           A.      No, I did not.

       2           Q.      Did you speak to anybody from the

       3     district attorney's office in connection with

       4     this incident?

       5           A.      No, I did not.

       6                   MS. NICOLAOU:          I think I have no

       7             further questions.

       8                   MR. BASIL:        Why don't we take 5

       9             minutes?

      10                   MS. NICOLAOU:          Do you want to take

      11             a quick break.

      12                   MR. BASIL:        Yes.

      13                   (Brief recess taken.)

      14                   MR. BASIL:        Plaintiff has no

      15             questions at this point in time.

      16    EXAMINATION

      17    BY MS. BERKOWITZ:

      18           Q.      Good afternoon, sir.             I represent

      19     the karaoke bar.            I just have a few follow-up

      20     questions for you.

      21           A.      Yes.

      22           Q.      Earlier you testified that when

      23     Mr. Shin called you on the day of the

      24     incident he said he was not in a good mood,

      25     correct?
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 91 of 139 PageID #: 975


                                                                          Page 90
       1           A.      To recall about it now, I don't

       2     think he particularly said that he was in a

       3     bad mood, it's maybe it was my understanding.

       4     So what was talked about is that where are

       5     you, I'm in New Jersey, so let's see each

       6     other later on, something like that.

       7           Q.      So now you're saying you don't

       8     recall him saying he was not in a good mood?

       9           A.      That is correct.           If I said

      10     something like that earlier today it's

      11     probably while I was trying to guess about

      12     the situation, but I don't recall him saying

      13     that.

      14           Q.      When you went into the other room to

      15     get Mr. Shin's attention for the first time,

      16     did you observe any arguing, or fighting, or

      17     cursing?

      18           A.      No.

      19           Q.      Did you observe a friendly happy

      20     atmosphere, or anything like that?

      21           A.      I don't know about that either.

      22           Q.      Did you see Mr. Lee drink any

      23     alcohol that night, yes or no?

      24           A.      Which Mr. Lee?

      25           Q.      Not you.
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                                                                          Page 91
       1                    MS. NICOLAOU:         Mr. Shin?

       2                    MR. BASIL:       No, he asked about Mr.

       3             Lee.

       4                    MS. NICOLAOU:         Sorry.

       5           A.       No, I did not see it.

       6           Q.       Was Mr. Shin the oldest gentleman in

       7     the room that he was in while he was

       8     drinking?

       9           A.       I wouldn't know, I don't know.

      10           Q.       You testified earlier that Mr. Lee

      11     appeared intoxicated to you, what's the basis

      12     for that testimony?

      13           A.       Well, just a common sense that I

      14     smelled alcohol off from his breath when he

      15     was speaking, and also, you know, the

      16     demeanor or how he reacted was appeared, it

      17     was like a drunk person.

      18           Q.       What about his demeanor led you to

      19     believe that he was drunk?

      20           A.       Just that overall situation of that

      21     night led me to believe that.

      22           Q.       Was there anything specific about

      23     his demeanor that led you to believe that?

      24           A.       I would say the words he spoke and,

      25     for example, I was trying to calm them down
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 93 of 139 PageID #: 977


                                                                          Page 92
       1     and break up the argument.                 If it was a sober

       2     person, the person would have understood and

       3     then probably just leave in peace, but then

       4     he would not listen to me and then still

       5     added, so.

       6           Q.      And this was on the landing that you

       7     observed this demeanor?

       8           A.      What do you mean by that?

       9           Q.      You said that you observed his

      10     demeanor and that he appeared intoxicated,

      11     was that on the landing that you made these

      12     observations?

      13           A.      Yes, there, that's the biggest part.

      14           Q.      What do you mean the biggest part?

      15           A.      The other part would be the fact

      16     that he was cursing and following another

      17     person, so I would think that it's not a

      18     sober person.

      19           Q.      When Mr. Lee followed Mr. Shin out

      20     of the room was anybody else present in the

      21     hall besides for you, Mr. Lee, and Mr. Shin?

      22           A.      I would assume so, but I can't

      23     recall exactly.

      24           Q.      Did you ever talk to any employees

      25     of the karaoke club about this accident?
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                                                                          Page 93
       1           A.      No.

       2           Q.      Did you ever talk to any employees

       3     at the karaoke bar about Mr. Lee being

       4     intoxicated?

       5           A.      No.

       6                   MS. BERKOWITZ:          Thank you.

       7    EXAMINATION

       8    BY MR. WEISSLER:

       9           Q.      Good afternoon, Mr. Lee.

      10           A.      Good afternoon.

      11           Q.      My name is Steven Weissler.                 I'm an

      12     attorney with the law office of Longo and

      13     D'Apice.        We are the attorneys for the

      14     defendant Young K. Lee in this lawsuit.                        I'm

      15     going to be asking you some questions about

      16     the night of April 21st to April 22nd, 2017.

      17     If you don't understand any of the questions

      18     I ask, please tell me, and I'll be glad to

      19     rephrase the question.               If I'm not speaking

      20     loud enough, or you're not sure if you heard

      21     the question, please tell me --

      22           A.      Yes.

      23           Q.      -- I'll be glad to repeat the

      24     question, or we can have the young lady court

      25     reporter repeat the question.
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                                                                          Page 94
       1           A.      Yes.

       2           Q.      Do you understand everything I've

       3     said so far?

       4           A.      Yes.

       5           Q.      What is your date of birth?

       6                   MR. WEISSLER:          We'll just leave the

       7             year for the record.

       8           A.      1962.

       9           Q.      Where were you born?

      10           A.      Seoul, Korea.

      11           Q.      When did you first come to the

      12     United States?

      13           A.      In '80s, but to my recollection I

      14     think it's either 1984 or 1985.

      15           Q.      Are you a United States citizen?

      16           A.      Yes.

      17           Q.      When did you become a United States

      18     citizen?

      19           A.      Around '90, 1990.

      20           Q.      You'll forgive me for asking this

      21     question, but I have to ask it, have you ever

      22     been convicted of a crime?

      23           A.      No.

      24           Q.      What do the letters CMJJ stand for?

      25           A.      That's the initials of my family
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                                                                          Page 95
       1     members' names.

       2           Q.      When you first started the Picnic

       3     Garden restaurant at 154-05 who was the owner

       4     of that building?

       5           A.      Mr. Wang, family.

       6           Q.      Did you have a lease with the Wang

       7     family when you first opened the restaurant?

       8           A.      You mean at this address?

       9           Q.      Yes.

      10           A.      Yes.

      11           Q.      As of the date of this incident,

      12     April 22, 2017, who was the owner of the

      13     entire building?

      14           A.      Wang family.

      15           Q.      When you went to dinner with

      16     Mr. Jung on April 21st were you celebrating

      17     anything?

      18           A.      No.

      19           Q.      What was the reason that you were

      20     having dinner with Mr. Jung that night?

      21           A.      Just relationship.

      22           Q.      Are you related to him by family?

      23           A.      It's family friends.

      24           Q.      I'm sorry?

      25           A.      We're family friends.
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                                                                          Page 96
       1            Q.     When you spoke with Mr. Shin from

       2     the restaurant, that would be the restaurant

       3     where you were with Mr. Jung, who called who,

       4     did you call Mr. Shin or did Mr. Shin call

       5     you?

       6            A.     Mr. Shin called me.

       7            Q.     Did you expect a call from him that

       8     night?

       9            A.     No.

      10            Q.     Was Mr. Shin's bank, the Noah Bank,

      11     financing the purchase of the building at

      12     154-05 Northern Boulevard?

      13            A.     Yes.

      14            Q.     When Mr. Shin called you, did he ask

      15     you to meet him at the karaoke bar?

      16            A.     No.

      17            Q.     Did you tell Mr. Shin that you

      18     wanted to celebrate the purchase of the

      19     building with him?

      20            A.     No.

      21            Q.     How many floors did the building

      22     have at 154-05?

      23            A.     Three-story building.

      24            Q.     Did it also have a basement?

      25            A.     Yes, there is.
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                                                                          Page 97
       1           Q.      Did the restaurant occupy the

       2     basement and the first floor?

       3           A.      No, just the first floor.

       4           Q.      Who occupied the basement?

       5           A.      It's an empty space, just a storage

       6     space.

       7           Q.      Who stores things in the basement?

       8           A.      It's not occupied by any specific

       9     party or person.            So there's some mechanical

      10     stuff located in the basement, and anybody

      11     could use it.          Also, the mechanic room for

      12     AT&T antennas and it's in that space too.

      13           Q.      As of the date of the incident,

      14     April 22, 2017, who occupied the third floor?

      15           A.      So on the third floor I think three

      16     or four businesses were occupying that space,

      17     it's an office area, so my understanding is

      18     that there was an attorney's office, a real

      19     estate broker's office, and that there was

      20     also skin care place called Nuskin,

      21     N-U-S-K-I-N.

      22           Q.      Did you personally do a walk-through

      23     of the building before the closing on

      24     April 30, 2017?

      25           A.      No, I did not.
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                                                                          Page 98
       1           Q.      Was there a reason that you changed

       2     the staircase after the incident of April 22,

       3     2017?

       4           A.      Yes, because I had renovated the

       5     whole building, so changing the exterior,

       6     also renovated the third floor of the

       7     building, so it was a part of it.

       8           Q.      Did anyone recommend that you change

       9     the staircase?

      10           A.      No, I decided it myself.

      11           Q.      When you made changes to the

      12     staircase, did you change the railings?

      13           A.      Yes, everything was changed.

      14           Q.      At the time of this accident of

      15     April 22, 2017 were there two railings on the

      16     staircase?

      17           A.      No, just one side.

      18           Q.      When you changed the railings, did

      19     you add a second railing?

      20           A.      I did not.

      21           Q.      Is there still just one railing as

      22     of today?

      23           A.      Yes, that's correct.

      24           Q.      What change did you make to the

      25     railing after the day of the accident?
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 100 of 139 PageID #: 984


                                                                          Page 99
        1           A.      Do you mean the rail?

        2           Q.      Did you remove the old railing?

        3           A.      Yes, of course.

        4           Q.      Did you put in a new railing?

        5           A.      Correct.

        6           Q.      How did the new railing compare with

        7     the old railing?

        8           A.      So the old railing was in the shape

        9     of a panel, the wood panel, so it was wide

      10      like this.

      11                    THE INTERPRETER:           Indicating about

      12             a foot.

      13                    MS. NICOLAOU:         I just object to the

      14             indication.         Can you have him just

      15             raise his hand about the railing's

      16             width.       That's not a foot.

      17                    THE INTERPRETER:           Not a foot.

      18                    MS. NICOLAOU:         I don't know how

      19             much it is.

      20                    MR. BASIL:        I'm going to guess

      21             5 inches.

      22                    MS. NICOLAOU:         I'd rather not

      23             guess, but definitely can say it's not

      24             a foot, nor is it half a foot,

      25             definitely less than half a foot, but
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 101 of 139 PageID #: 985


                                                                         Page 100
        1             I'm not going to take a guess of the

        2             width.

        3           Q.      Let me try it this way.              The old

        4     railing, was it round, or was it square, or

        5     something else?

        6           A.      So I would say square-ish, but also

        7     rounded on the edges.

        8           Q.      What was the composition of the new

        9     railing?

      10            A.      So it's a baton made of stainless

      11      steel.

      12            Q.      Is the new railing wider, or less

      13      wide, or the same width as the old railing?

      14            A.      Smaller.

      15            Q.      Earlier you were measuring with your

      16      fingers the railing, was that the width of

      17      the railing?

      18            A.      Yes, when I look at it from the

      19      side.

      20            Q.      So when you were holding your hands

      21      to show the width of the railing, can you

      22      show me on this legal pad how wide it was?

      23            A.      I wouldn't be able to estimate or

      24      gauge the width of the rail, what I was

      25      trying to state to describe the old railing
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 102 of 139 PageID #: 986


                                                                         Page 101
        1     is that to my understanding it appeared that

        2     it's something of a width that a person could

        3     have difficulty grabbing it, so that's why I

        4     made a change to the railing.

        5                   MR. WEISSLER:         Move to strike that

        6            portion which is not responsive to the

        7            question.

        8           Q.      Sir, I'm going to show you this

        9     legal pad, this is an 8 by 11, I think we can

      10      all agree it's an 8 by 11 legal pad, without

      11      telling me how many inches, I'm just going to

      12      ask you, can you indicate with your hand, as

      13      you did before when you put your hand over

      14      the pad, can you just show me from the top to

      15      approximately how wide the railing would be?

      16                    MS. NICOLAOU:         Just note my

      17             objection.         He's already testified he

      18             couldn't really estimate.

      19                    MR. WEISSLER:         But again, he put

      20             his hand over it, Counselor, I'd like

      21             him to put his hand over it.

      22                    MS. NICOLAOU:         He put his hand over

      23             it because he was talking.

      24                    MR. WEISSLER:         Counselor, please

      25             don't characterize it.               I didn't
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                                                                         Page 102
        1            interrupt your deposition, don't

        2            interrupt mine.

        3           Q.      Please just indicate with your hand

        4     again.

        5                   MS. NICOLAOU:         Note my objection.

        6           A.      So when I used my hand to estimate,

        7     I didn't really estimate the width of the

        8     railing, to clarify, so I won't be able to

        9     give you an estimate using this legal pad.

      10      So to clarify my response to your question is

      11      that the reason I decided to make the change

      12      to the rail was that, well, first of all, I

      13      never actually grabbed the railing myself

      14      with my own hands, it's my observation, and I

      15      concluded that it would be a width or

      16      something of a shape that a person wouldn't

      17      be able to grab it instantly, and so that's

      18      why, whether somebody tells me to fix it or

      19      not, I wanted to fix the railing with

      20      something with a different shape.

      21                    MR. WEISSLER:         Move to strike that

      22             portion which is not responsive to the

      23             question.

      24            Q.      * I'm going to show you this legal

      25      pad again, was the railing as wide as this
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                                                                         Page 103
        1     legal pad, or was it less than the width, I'm

        2     sorry, less than the length of this legal

        3     pad?

        4                   MR. BASIL:        Objection.        He's

        5             already testified he can't answer.

        6             Don't answer the question.

        7                   MR. WEISSLER:         He hasn't testified

        8             he can't answer.

        9            Q.     Answer the question.

      10                    MR. BASIL:        No, don't answer the

      11              question.

      12                    MR. WEISSLER:         You're directing him

      13              not to answer?

      14                    MR. BASIL:        I'm directing him not

      15              to answer.

      16                    MS. NICOLAOU:         Can we have the last

      17              question, not this question, the one

      18              before that, and the answer read back,

      19              please.      The two questions before when

      20              he asked him to describe it on the pad.

      21                    (Whereupon, the record was read

      22              by the reporter.)

      23                    MR. WEISSLER:         Please mark it for a

      24              ruling, my last question.

      25             Q.     Did you speak to the architect
Case 1:17-cv-05183-RML Document 76-7 Filed 05/12/20 Page 105 of 139 PageID #: 989


                                                                         Page 104
        1     before the closing on April 30, 2017?

        2           A.      With an architect about what, no.

        3           Q.      Did you talk to the architect about

        4     the stairway before the closing?

        5           A.      No.

        6           Q.      When you made changes to the

        7     stairway, did you make any changes to the

        8     lighting?

        9           A.      Yes, everything was changed.

      10            Q.      How did the new lighting compare

      11      with the old lighting?

      12            A.      It's brighter.

      13            Q.      Did you add any fixtures?

      14            A.      So yes, I would say that.               So I

      15      changed the fixtures so rather than the old

      16      one just one is sticking out, so I actually

      17      added fixtures all the way up to the second

      18      floor.

      19            Q.      When you say you added fixtures, was

      20      that alongside the walls of the stairway?

      21            A.      No, on top, on the top.

      22            Q.      I believe you told us earlier about

      23      the general contractor Lan Construction, do

      24      you remember telling us about that?

      25                    MS. NICOLAOU:         Hana?
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                                                                         Page 105
        1           A.      Yes.

        2           Q.      I'm sorry, that was Hana

        3     Construction, is that right?

        4           A.      Yes.

        5           Q.      Do you have any records in your home

        6     about the work performed by the general

        7     contractor, Hana Construction?

        8           A.      No, I do not.

        9           Q.      How did you get to the karaoke bar

      10      at 154-05 after having dinner with Mr. Jung?

      11            A.      As I mentioned, I walked.

      12            Q.      At approximately what time did you

      13      arrive at the karaoke bar?

      14            A.      As I mentioned before, I do not

      15      recall exactly, but probably between 9:00 and

      16      10:00.

      17            Q.      At approximately what time did you

      18      first see Mr. Shin that evening?

      19            A.      I do not know.

      20            Q.      Was it before midnight or after

      21      midnight?

      22            A.      When do you mean, for the first time

      23      when I saw him?

      24            Q.      Yes, that would be the very first

      25      time.
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                                                                         Page 106
        1           A.      That I --

        2                   THE INTERPRETER:           Sorry.

        3           A.      The time when I met him there was,

        4     of course, before 12:00.

        5           Q.      When you first met him was that

        6     closer to 10:00, or was it closer to

        7     midnight?

        8           A.      I do not recall.

        9           Q.      When you first saw Mr. Shin did he

      10      come into your room, or did you go into his

      11      room?

      12            A.      What do you mean?

      13            Q.      Did Mr. Shin have a separate room

      14      than your room?

      15            A.      Maybe you didn't listen to me when I

      16      was testifying before, but it's not like

      17      Mr. Shin had a separate room.                  I met Mr. Shin

      18      in that room where I was at.

      19            Q.      When you say the room where you

      20      were, was that where Mr. Jung was?

      21            A.      Yes, correct.

      22            Q.      Before Mr. Shin came did you order

      23      one bottle of Johnny Walker whiskey?

      24            A.      As I said before, I have no clear

      25      recollection who or at first when anybody
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                                                                         Page 107
        1     arrived there what was done, I can't recall.

        2                   MR. WEISSLER:         Move to strike that

        3             portion which is not responsive to the

        4             question.

        5           Q.      Do you remember telling us earlier

        6     that there was -- that someone ordered one

        7     bottle for the room, is that correct?

        8           A.      Yes, and I would only -- I could

        9     only assume so because somebody ordered it,

      10      that's why the drink was brought into the

      11      room.

      12            Q.      Was that Johnny Walker whiskey?

      13            A.      I have no recollection whether it

      14      was Johnny Walker or not.                It was whiskey,

      15      some sort of whiskey.

      16            Q.      Approximately what time did you

      17      leave the karaoke bar?

      18            A.      I do not know, I can't recall.

      19            Q.      Was it after midnight?

      20            A.      I don't know about that.               I mean, if

      21      I had known, I would have given you the

      22      estimate.

      23            Q.      At approximately what time did

      24      Mr. Shin fall down the staircase?

      25            A.      How would I know, I don't know.
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                                                                         Page 108
        1           Q.      During the time that you were in the

        2     room with Mr. Jung, until the time that you

        3     left, did anyone order another bottle of

        4     whiskey?

        5           A.      I do not know, I have no

        6     recollection of that.

        7           Q.      Was any beer served in the room

        8     where you were with Mr. Jung?

        9           A.      I don't recall.          I don't know.

      10            Q.      During the time that you were in the

      11      room with Mr. Jung, from the time you arrived

      12      between 9:00 and 10:00, and whenever you left

      13      to go home, were there any women servers in

      14      your room?

      15                    MS. BERKOWITZ:          Objection to the

      16             form of the question.

      17            A.      Yes, it's part of the karaoke

      18      system, so women, the employees, would come

      19      in -- go in and out of the room and serve.

      20            Q.      What did they serve?

      21            A.      So sometimes they would pour drinks,

      22      and then they would talk to the guests.

      23            Q.      Did the women give massages?

      24            A.      No.

      25            Q.      Did the women give lap dances?
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                                                                         Page 109
        1           A.      No.

        2           Q.      Did the women dance on poles?

        3           A.      There's no pole.

        4           Q.      How long did Mr. Shin remain in your

        5     room after he came in for the first time?

        6           A.      As I said before, I don't recall for

        7     how long, but I recall that he didn't stay in

        8     that room for long, it was short.

        9           Q.      During that short time that he was

      10      in the room did any of the women serve him

      11      whiskey?

      12            A.      That I don't recall after he was in

      13      the room who served what to whom, I can't

      14      recall.

      15            Q.      After Mr. Shin stayed for a short

      16      time in your room, did he go back to his

      17      room?

      18            A.      What do you mean by he?

      19                    MR. WEISSLER:         Can you read back my

      20              question, please.

      21                    (Whereupon, the record was read

      22              by the reporter.)

      23            A.      So I think you misunderstood the

      24      room situation, that's why I was confused.

      25      It's not like Mr. Shin had a separate room to
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                                                                         Page 110
        1     himself, where I was the room I was in was

        2     Mr. Shin's room, so we're supposed to meet

        3     there, but he left the room and went to

        4     another room.

        5           Q.      How long was Mr. Shin in the other

        6     room before you went and opened the door and

        7     waived for him to come over?

        8                   MS. NICOLAOU:         Can we get a

        9            clarification, first or second time?

      10            A.      As I testified before, I don't know,

      11      I can't recall exactly, because it's a

      12      drinking situation, I wasn't exactly timing

      13      how long he was staying in the other room.

      14            Q.      After you poked your head into that

      15      other room and Mr. Shin didn't come back --

      16      didn't come back with you, did you go back to

      17      your room?

      18            A.      Yes, as I testified before.

      19            Q.      How long did you remain in your room

      20      before you went to the other room for the

      21      second time?

      22            A.      I do not recall.

      23            Q.      Between the time that you were --

      24      you poked your head into Mr. Shin's room the

      25      first time, and the time that you poked your
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                                                                         Page 111
        1     head in there the second time, did you have

        2     anything to drink in your room?

        3           A.      I didn't drink much.             I don't think

        4     I drank much, as I testified before, for the

        5     reason I testified for before.

        6           Q.      Between the first time you poked

        7     your head in Mr. Shin's room and the second

        8     time you poked your head in Mr. Shin's room

        9     did anyone in your room order a second bottle

      10      of whiskey?

      11            A.      I do not know.

      12            Q.      Do you remember how much was the

      13      bill for the room where you stayed with

      14      Mr. Jung that night?

      15            A.      No, I can't recall.

      16            Q.      I'm going to show you what's been

      17      previously marked as -- it's been previously

      18      marked as Defendant's Exhibit B from

      19      February 1st, 2019.             Take a look at that, and

      20      please take your time.

      21            A.      They gouged me.

      22            Q.      Is that the bill you paid for your

      23      room?

      24                    MS. BERKOWITZ:          Move to strike the

      25              portion that was not responsive.
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                                                                         Page 112
        1           A.      I don't recall paying for it, but if

        2     this was the bill brought to me, to the room

        3     where I was, then I must have paid it.                       So

        4     according to that --

        5           Q.      When you look at the top of the

        6     page, can you see where it says black two

        7     bottles $200?

        8           A.      Yes, but I think there's something

        9     wrong with it.

      10            Q.      Does that refresh your memory that

      11      two bottles of whiskey were ordered for your

      12      room?

      13            A.      No.

      14                    MS. NICOLAOU:         Can I see.

      15            Q.      When you paid the bill that night

      16      did you pay by cash, or by check, or

      17      something else?

      18            A.      I don't recall.

      19            Q.      I'm going to show you what's been

      20      previously marked as Defendant's Exhibit C

      21      from February 1st, 2019.               Take your time and

      22      take a look at that, and tell me if you

      23      recognize that document?               Have you ever seen

      24      that document before?

      25            A.      No.
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                                                                         Page 113
        1            Q.     Do you see at the bottom where it

        2     says $1,500 cash?

        3            A.     Yes.

        4            Q.     Was that the amount that you paid

        5     for the service in your room?

        6            A.     No, this is not my bill.               That one

        7     appears mine.

        8            Q.     That one appears what?

        9                   THE INTERPRETER:           Mine.

      10             Q.     When you say that one, you're

      11      talking about Exhibit B?

      12             A.     So if that one is B or A.

      13             Q.     There's no A.

      14             A.     Shown in B and C.           So the one you're

      15      holding right now is my bill, appears so.

      16             Q.     That's Exhibit B.

      17                    MR. BASIL:        Correct.

      18             Q.     At the top of the page do you see

      19      some Asian or Korean symbols at the top of

      20      Exhibit B?

      21             A.     Yes.

      22             Q.     Do you know what those symbols stand

      23      for?

      24             A.     So on top of this document on the

      25      top right side and I see this the Korean
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                                                                         Page 114
        1     characters so Jason the phonetic spelling in

        2     Korean, which is my name, and next to it it

        3     says Shin president of the bank.

        4           Q.      The other symbols are the names,

        5     women's names?

        6           A.      I don't know what they are.

        7           Q.      I'm going to show you Exhibit C,

        8     that was the bill for $1,500.                  Is Mr. Shin's

        9     name at the top of that?

      10            A.      No, his name is not there.

      11            Q.      Do you know what those symbols stand

      12      for at the top of that page?

      13            A.      Which one do you mean?

      14            Q.      You can start at the left side and

      15      go to the right side.

      16            A.      Yes, they are in Korean.

      17            Q.      Are they the names of people?

      18            A.      The ones, yes, they appear to be

      19      people's names.

      20            Q.      Are they women's names?

      21            A.      Yes, correct.

      22            Q.      Sir, I'm going to ask you to put

      23      your cell phone away and turn it off until

      24      we're finished.

      25                    MR. BASIL:        He can do what he
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                                                                         Page 115
        1             wants.

        2                   MR. WEISSLER:           If you're his

        3             attorney --

        4                   MR. BASIL:         I am his attorney.

        5                   MR. WEISSLER:           -- then you should

        6             instruct him to turn it off and show

        7             some respect.

        8            A.     I am overtime now, I pay over $200,

        9      who going to pay to me.

       10                   MR. BASIL:         Why don't you ask

       11             relevant questions so we can get out of

       12             here and not repeat questions that have

       13             already been asked.

       14            A.     How many times repeat now.

       15                   MR. BASIL:         He's been asked to

       16             repeat time and time again questions

       17             that have been previously asked that

       18             are of limited importance, so if Mr.

       19             Lee needs to check his cell phone

       20             because you are interrupting his

       21             business, then he shall continue doing

       22             that during the course of this

       23             deposition.

       24                   MR. WEISSLER:           Please mark it for a

       25             ruling.
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                                                                         Page 116
        1                   MR. BASIL:        There's no need to mark

        2             a transcript for a ruling.

        3                   MR. WEISSLER:          Certainly is.          I

        4             don't think Magistrate Gold would

        5             appreciate that conduct, sir, and I

        6             will continue.          I am entitled to

        7             conduct a complete deposition when I

        8             choose.

        9                   MR. BASIL:        There's no reason to

       10             mark a transcript, that went out in the

       11             '50s.      You may continue.

       12           Q.      The person who you later learned to

       13     be Young K. Lee, did you ever meet Young K.

       14     Lee prior to the night of April 21st to April

       15     22nd, 2017?

       16                   MR. BASIL:        I object to the

       17             question, as that this has been asked

       18             before.       The only possible reason to

       19             ask it again is to badger this witness.

       20             How many times do we have to hear the

       21             same question in this deposition.

       22           Q.      When you went out of the room and

       23     onto the landing and stood between Mr. Shin

       24     and the person who you later learned to be

       25     Young K. Lee, were you intoxicated at that
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                                                                         Page 117
        1     time?

        2           A.      No.

        3           Q.      Other than looking at the video, did

        4     you see Young K. Lee kick Mr. Shin?

        5                   MR. BASIL:        Objection.        Was this

        6             question not already asked?

        7                   MR. WEISSLER:          I'm allowed to

        8             conduct a complete deposition, if

        9             that's what I choose to do, Counselor.

       10             I am fully within my rights and fully

       11             within the federal court rules.

       12                   MR. BASIL:        You are not allowed to

       13             badger this witness.

       14                   MR. WEISSLER:          I am not badgering

       15             the witness, I'm conducting a

       16             deposition.

       17                   MR. BASIL:        That's your opinion.

       18                   MR. WEISSLER:          Please read back the

       19             question, and again note for the record

       20             that the witness has failed to put down

       21             his telephone.          And I don't know what

       22             he's looking up, he could be Googling

       23             things about this particular case, and

       24             it's highly irregular.

       25                   (Whereupon, the record was read
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                                                                         Page 118
        1             by the reporter.)

        2           A.      No.

        3           Q.      When you put both your hands on

        4     either side of Mr. Young K. Lee's face, what

        5     were you saying to him?

        6           A.      So I don't recall what I said

        7     exactly at the moment, but everything that I

        8     said in that situation is that let's stop

        9     this, let's not do this, let us go home.

       10           Q.      What was the reason that you put

       11     your hands on Mr. Young K. Lee's face?

       12           A.      So I would say it's a part of Korean

       13     culture, he was a stranger to me, I didn't

       14     personally know him, but then it was more

       15     like, you know, touch him, physical contact,

       16     and then say let's not do this, we're same

       17     Korean people, and try to soften the

       18     situation, I would say.

       19           Q.      Before Mr. Shin fell down the stairs

       20     did any portion of your body come in contact

       21     with any portion of Mr. Shin's body?

       22           A.      No.

       23           Q.      When you looked at the video earlier

       24     was there a reason that you were shaking

       25     hands with Young K. Lee?
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                                                                         Page 119
        1           A.      It's the same thing that I explained

        2     before, it's the same Korean people, I wanted

        3     to make a friendly physical contact so that I

        4     could calm him down, let's not do this, let's

        5     go home.

        6           Q.      Were you angry with Mr. Shin for not

        7     drinking with you that night?

        8           A.      No.

        9           Q.      Where was Mr. Jung at the time that

       10     Mr. Shin fell down the stairs?

       11           A.      I do not know, I am sure that he was

       12     in that same area, but I don't know where he

       13     was exactly.

       14                   MR. WEISSLER:          I have nothing

       15             further, thank you.

       16    CONTINUED EXAMINATION

       17    BY MS. NICOLAOU:

       18           Q.      Mr. Lee, really quick, this is going

       19     to be quick.          I'm going to show you what's

       20     been marked Defendant's Exhibit H dated

       21     February 1st, 2019.             Do you recognize what's

       22     shown in this photograph, yes or no?

       23           A.      No.

       24           Q.      Do you recognize this staircase to

       25     be the staircase leading from the karaoke bar
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                                                                          Page 120
        1     down to the first floor of the building?

        2           A.      Yes, correct.

        3           Q.      This is how the staircase looked on

        4     the date of the accident, is that right?

        5           A.      Yes.

        6           Q.      Do you see a banister on each side?

        7           A.      Yes.

        8           Q.      Based on this photograph, is it

        9     correct to say that there were two banisters,

       10     one on each side, on the date of the

       11     accident?

       12           A.      It appears so.

       13           Q.      The banisters that are shown in this

       14     photograph, those are the banisters that you

       15     were trying to describe before, is that

       16     right, the ones that you replaced?

       17           A.      Yes, it is, this is it.

       18                   MS. NICOLAOU:          Thank you.        No

       19             further questions.

       20                   (Time Noted:         4:50 p.m.)

       21
       22
       23
       24
       25
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                                                                         Page 121
        1                  A C K N O W L E D G E M E N T

        2           I, CHUNG K. LEE, hereby certify that I

        3    have read the transcript of my testimony taken

        4    under oath on May 28, 2019, that the

        5    transcript is a true, complete and correct

        6    record of what was asked, answered and said

        7    during my testimony under oath, and that the

        8    answers on the record as given by me are true

        9    and correct.

       10
       11    __________________________

       12    CHUNG K. LEE

       13
       14
       15
       16    Signed and subscribed to

       17    before me, this _____ day

       18    of _______________, _______.

       19
       20    ___________________________

       21    Notary Public

       22
       23
       24
       25
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                                                                         Page 122
        1                          C E R T I F I C A T E

        2            I, JOI RAFKIND, a shorthand reporter and

        3    Notary Public within and for the State of New

        4    York, do hereby certify:

        5            That the witness whose testimony is

        6    hereinbefore set forth was duly sworn by me,

        7    and the foregoing transcript is a true record

        8    of the testimony given by such witness.

        9            I further certify that I am not related

       10    to any of the parties to this action by blood

       11    or marriage, and that I am in no way

       12    interested in the outcome of this matter.

       13
       14
       15                             _______________

       16                                JOI RAFKIND

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                                                  July 30, 2019

  The Basil Law Group, PC
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             Re:     Shin, Edward v. YSE Enterprises, Inc., Michael S. Wang, Victoria Wang
                     as Trustee of the Richardson Irrevocable Trust, Terrance Wu,
                                                                                  Deh-Jung
                     Deborah Wang and Young K. Lee
                     Our File No:      10258.0063841

  Dear Counselors:

         Enclosed please find the deposition transcript of your non-party witness, CHUNG K.
  LEE, in connection with the above-referenced lawsuit. Kindly have the transcript properly
  executed and returned to this office within twenty (20) days.

          Should you fail to return the deposition transcript within twenty (20) days, please be
  advised that use of it will be made as though it had been duly signed.

          Thank you for your attention to this matter.

                                                    Very truly yours,

                                                    CHAR;                                   LAW


                                                    By:
                                                                         ,I
                                                                                   ?ELL
                                                                                      /?
                                                                              Cinthia Carrera

 cc
 Enclosure



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